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                EXHIBIT
                EXHIBIT A
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                                                                                      Liberty Mutual Insurance

                                                                                      350 E. 96th Street
                                                                                      Indianapolis, IN 46240




  September 21, 2023




  Adrienne K Peacock
  175 Berkeley Street
  Boston, MA 02116



  Insured Name:                       Jon Cross
                                      Christina Cross
  Policy Number:                      H3V28803802470
  Claim ID:                           054402979
  Date of Loss:                       08/05/2023
  Policy Effective:                   08/20/2022



I hereby certify that the attached is a true and accurate copy of the documents requested for the policy listed
above as maintained by the Liberty Mutual Personal Insurance Company in the usual and customary course of
its business.




                                            Kaylin McClure
                                            Policy Copy Support


  KM
  Enclosures
                    Case: 3:23-cv-02052 Doc #: 1-1 Filed: 10/19/23 3 of 48. PageID #: 9
     Questions about your Policy?         Policy Number:                   Report a Claim:
     Call 1-800-225-8285                  H3V-288-038024-70 2 9            1-800-2CLAIMS or
                                                                           LibertyMutual.com/Claims

     ACTION REQUIRED:
     PLEASE REVIEW AND KEEP FOR YOUR RECORDS.


                                                                                 Save an estimated $24
     Policy Declarations                                                         annually by switching to
     Total 12 Month Premium:* $2,675.00                                          Paid-in-Full


     Bill Frequency: Monthly   Installment Fee Per Payment: $2.00
     *Total 12 month policy premium above does not include installment fees.
     Your discounts and benefits have been applied. Includes state sales tax and local surcharge where applicable.
     Through your affiliation with the UC Davis Cal Aggie Alumni Association your policy includes special group
     savings on your home insurance.

     Insurance Information
     Named Insured:    Jon Cross                          Policy Number:          H3V-288-038024-70 2 9
                       Christina Cross
     Mailing Address: 16511 Maureen Dr                    Policy Period:          08/20/2022-08/20/2023 12:01 a.m.
                      Kenton OH 43326-9525                                        standard time at the address of the
                                                                                  Named Insured at Insured Location.
     Insured Location: Same as Mailing address above      Declarations Effective: 08/20/2022




        DISCOUNTS AND BENEFITS SECTION



        Your discounts and benefits have been applied to your total policy premium.
        • Inflation Protection Discount                       • Early Shopper Discount

        • Electronic Funds Transfer Discount                  • Paperless Policy Discount

        • Basic Home Safety

        • Smart Home

              • Theft Protection

              • Fire Protection

        • Claims-Free Advantage: (Also known as Accelerated Loss Forgiveness)
          Remain loss free and continuously insured for 2 years in order to earn Claims-Free
          Advantage.




FMHO 3047 05 16                           Important Billing Information Enclosed                                  Page 1 of 4
                    Case: 3:23-cv-02052 Doc #: 1-1 Filed: 10/19/23 4 of 48. PageID #: 10
     Want to Add a Coverage?             Policy Number:                 Report a Claim:
     Call 1-800-225-8285 to talk to      H3V-288-038024-70 2 9          1-800-2CLAIMS or
     your agent about the availability                                  LibertyMutual.com/Claims
     of this coverage and whether it
     meets your needs.


     Coverage Information
     Standard Policy with HomeProtector Plus ™

     SECTION I COVERAGES                                                                     LIMITS        PREMIUM
     A. Dwelling with Expanded Replacement Cost                                        $    624,400
     B. Other Structures on Insured Location                                           $     62,440
     C. Personal Property with Replacement Cost                                        $    468,300
     D. Loss of Use of Insured Location                                        Actual Loss Sustained


     SECTION II COVERAGES                                                                    LIMITS        PREMIUM
     E. Personal Liability (each occurrence)                                          $     300,000
     F. Medical Payments to Others (each person)                                      $       1,000


     POLICY DEDUCTIBLES
     Losses covered under Section I are subject to a deductible of : $5,000


      Total Standard Policy with HomeProtector Plus ™                                                  $     2,675


     ADDITIONAL COVERAGES                                               DEDUCTIBLE           LIMITS        PREMIUM
     Credit Card, Fund Transfer Card, Forgery                                         $       1,000 $              0
     Escape of Water (Building/Spec Contents)                          $      1,000   $      10,000             INCL
     Coverage E increased limit                                                                                 INCL
     Total Additional Coverages                                                                        $           0



                                                                Total 12 Month Policy Premium: $2,675.00

     Additional Coverages and Products Available*

     We've reviewed your policy and have identified additional optional coverages and products that can add valuable
     protection. Talk to your agent about purchasing the following coverages and products and whether they meet
     your needs.
         Multi-Policy Discounts: Having more than one insurance policy with Liberty Mutual can save you time and
         money. Learn more about how you can bundle your auto, home, renters, or condo insurance.
         Home Computer and Smartphone: If your smartphone or other devices are not insured, repairing or replacing
         them can be expensive. Did you know you can insure multiple devices for up to $10,000 with a deductible of
         $50.00?




FMHO 3047 05 16                          Important Billing Information Enclosed                                Page 2 of 4
                    Case: 3:23-cv-02052 Doc #: 1-1 Filed: 10/19/23 5 of 48. PageID #: 11
     Want to Add a Coverage?              Policy Number:                   Report a Claim:
     Call 1-800-225-8285 to talk to       H3V-288-038024-70 2 9            1-800-2CLAIMS or
     your agent about the availability                                     LibertyMutual.com/Claims
     of this coverage and whether it
     meets your needs.


     Additional Coverages and Products Available* (continued)

         Identity Fraud Expense: A stolen identity can be scary and expensive. We’ll provide counseling, and pay up
         to $30,000 for expenses such as lost wages and attorney fees incurred to recover your identity.
     *These optional coverages are subject to policy provisions, limitations, and exclusions. Daily limits or a
     deductible may apply. For a complete explanation, please consult your agent today.


     Mortgage Information
     Mortgagee 1:                  Mortgagee 2:
     QUEST FEDERAL CREDIT          QUEST FEDERAL CREDIT
     UNION                         UNION
     ISAOA/ATIMA                   ISAOA/ATIMA
     LOAN NO. 114513               LOAN NO. 114513
     12837 Us Highway 68           12837 Us Highway 68
     Kenton, OH 43326-9301         Kenton, OH 43326-9301

     Policy Forms and Endorsements: The following forms and endorsements are applicable to your policy
     LibertyGuard® Deluxe Homeowner Policy                        Home Protector Plus (FMHO 3331 0312)
     (HO 00 03 04 91)
     Escape of Water (Building/Spec Contents)                     Protective Devices (FMHO 4172 1014)
     (FMHO 6500 1115)
     Credit Card, Fund Transfer Card, Forgery                     Amendmt Pol Definitions (FMHO 2934 0720)
     (HO 04 53 04 91)
     Special Provisions - Ohio (FMHO6100OH 0616)                  Amendatory Mold End (FMHO 3370 1112)
     Seepage Exclusion Endorsement (FMHO 3391 1112)               No SecII/Limt I-Daycare (HO 04 96 04 91)
     Lead Poisoning Exclusion (FMHO-976 05/92)                    Inflation Protection (FMHO-2836)
     Waiver Of Ded-Theft (FMHO 1087 1014)                         Fuel Storage Exclusion (FMHO-1097 1/97)
     LMHC Membership (2340)


     Important Messages

     Flood Insurance: Your Homeowners policy does not provide coverage for damage caused by flood, even if the
     flood is caused by a storm surge. Liberty Mutual can help you obtain this coverage through the Federal
     Emergency Management Agency (FEMA) if your community participates in the National Flood Insurance
     Program. Please call your representative for more information.




FMHO 3047 05 16                          Important Billing Information Enclosed                                   Page 3 of 4
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     Questions about your Policy?        Policy Number:              Report a Claim:
     Call 1-800-225-8285                 H3V-288-038024-70 2 9       1-800-2CLAIMS or
                                                                     LibertyMutual.com/Claims




     LibertyGuard® Deluxe Homeowners Policy Declarations provided and underwritten by Liberty Mutual Personal
     Insurance Company (a stock insurance company) , Boston, MA.




                   Hamid Mirza                                      Mark C. Touhey
                   President                                        Secretary


     This policy, including endorsements listed above,
     is countersigned by:
                                                                    Parker Koppelman
                                                                    Authorized Representative




FMHO 3047 05 16                         Important Billing Information Enclosed                             Page 4 of 4
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         To serve you best...
         Liberty Mutual has over 350 service offices throughout the United States
         and Canada. Please contact your service office shown on your Declarations
         Page to report losses, or for any changes or questions about your insurance.
         Payments should be sent to the office indicated on your bill.




         THIS POLICY IS NON ASSESSABLE

FMHO 943 (ED. 11-96)                             Liberty Mutual Group
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                               LIBERTYGUARD DELUXE HOMEOWNERS POLICY
                                        HO 00 03 EDITION 04 91

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*These conditions apply only if Liberty Mutual Fire Insurance Company is shown in the Declarations as the
insurer.
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                                         HOMEOWNERS 00 03 04 91
AGREEMENT
We will provide the insurance described in this policy in return for the premium and compliance with all
applicable provisions of this policy.
                                              DEFINITIONS

In this policy, "you" and "your" refer to the             c. Any premises used by you in connection
"named insured" shown in the Declarations and                 with a premises in 4.a. and 4.b. above;
the spouse if a resident of the same household.           d. Any part of a premises:
"We," "us" and "our" refer to the Company                     (1) Not owned by an "insured"; and
providing this insurance. In addition, certain words          (2) Where an "insured" is temporarily
and phrases are defined as follows:                               residing;
1. "Bodily injury" means bodily harm, sickness or         e. Vacant land, other than farm land, owned
    disease, including required care, loss of                 by or rented to an "insured";
    services and death that results.                      f. Land owned by or rented to an "insured"
2. "Business" includes trade, profession or                   on which a one or two family dwelling is
    occupation.                                               being built as a residence for an "insured";
3. "Insured" means you and residents of your              g. Individual or family cemetery plots or burial
    household who are:                                        vaults of an "insured"; or
    a. Your relatives; or                                 h. Any part of a premises occasionally rented
    b. Other persons under the age of 21 and in               to an "insured" for other than "business"
        the care of any person named above.                   use.
    Under Section II, "insured" also means:            5. "Occurrence" means an accident, including
    c. With respect to animals or watercraft to           continuous      or    repeated    exposure      to
        which this policy applies, any person or          substantially the same general harmful
        organization legally responsible for these        conditions, which results, during the policy
        animals or watercraft which are owned by          period, in:
        you or any person included in 3.a. or 3.b.        a. "Bodily injury"; or
        above. A person or organization using or          b. "Property damage."
        having custody of these animals or             6. "Property damage" means physical injury to,
        watercraft in the course of any "business"        destruction of, or loss of use of tangible
        or without consent of the owner is not an         property.
        "insured";                                     7. "Residence employee" means:
    d. With respect to any vehicle to which this          a. An employee of an "insured" whose duties
        policy applies:                                       are related to the maintenance or use of
        (1) Persons while engaged in your employ              the     "residence    premises,"     including
            or that of any person included in 3.a.            household or domestic services; or
            or 3.b. above; or                             b. One who performs similar duties elsewhere
        (2) Other persons using the vehicle on an             not related to the "business" of an
            "insured location" with your consent.             "insured."
4. "Insured location" means:                           8. "Residence premises" means:
    a. The "residence premises";                          a. The one family dwelling, other structures,
    b. The part of other premises, other                      and grounds; or
        structures and grounds used by you as a           b. That part of any other building;
        residence and:                                    where you reside and which is shown as the
        (1) Which is shown in the Declarations; or        "residence premises" in the Declarations.
        (2) Which is acquired by you during the           "Residence premises" also means a two family
            policy period for your use as a               dwelling where you reside in at least one of the
            residence;                                    family units and which is shown as the
                                                          "residence premises" in the Declarations.
                                    SECTION I - PROPERTY COVERAGES
COVERAGE A - Dwelling                                     2. Materials and supplies located on or next to
We cover:                                                     the "residence premises" used to construct,
1. The dwelling on the "residence premises"                   alter or repair the dwelling or other structures
   shown         in        the      Declarations,             on the "residence premises."
   including structures attached to the dwelling;         This coverage does not apply to land, including
   and                                                    land on which the dwelling is located.
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COVERAGE B - Other Structures                                furs, precious and semi-precious stones.
We cover other structures on the "residence              6. $2000 for loss by theft of firearms.
premises" set apart from the dwelling by clear           7. $2500 for loss by theft of silverware,
space. This includes structures connected to the             silver-plated ware, goldware, gold-plated ware
dwelling by only a fence, utility line, or similar           and pewterware.          This includes flatware,
connection.                                                  hollowware, tea sets, trays and trophies made
This coverage does not apply to land, including              of or including silver, gold or pewter.
land on which the other structures are located.          8. $2500 on property, on the "residence
We do not cover other structures:                            premises," used at any time or in any manner
1. Used in whole or in part for "business"; or               for any "business" purpose.
2. Rented or held for rental to any person not a         9. $250 on property, away from the "residence
     tenant of the dwelling, unless used solely as a         premises," used at any time or in any manner
     private garage.                                         for any "business" purpose. However, this
The limit of liability for this coverage will not be         limit does not apply to loss to adaptable
more than 10% of the limit of liability that applies         electronic apparatus as described in Special
to Coverage A. Use of this coverage does not                 Limits 10. and 11. below.
reduce the Coverage A limit of liability.                10. $1000 for loss to electronic apparatus, while in
COVERAGE C - Personal Property                               or upon a motor vehicle or other motorized
We cover personal property owned or used by an               land conveyance, if the electronic apparatus is
"insured" while it is anywhere in the world. At
                                                             equipped to be operated by power from the
your request, we will cover personal property
                                                             electrical system of the vehicle or conveyance
owned by:
                                                             while retaining its capability of being operated
1. Others while the property is on the part of the
                                                             by other sources of power. Electronic
     "residence     premises"    occupied     by    an
                                                             apparatus includes:
     "insured";
                                                             a. Accessories or antennas; or
2. A guest or a "residence employee," while the
     property is in any residence occupied by an             b. Tapes, wires, records, discs or other media;
     "insured."                                              for use with any electronic apparatus.
Our limit of liability for personal property usually     11. $1000 for loss to electronic apparatus, while
located at an "insured's" residence, other than the          not in or upon a motor vehicle or other
"residence premises," is 10% of the limit of                 motorized land conveyance, if the electronic
liability for Coverage C, or $1000, whichever is             apparatus:
greater. Personal property in a newly acquired               a. Is equipped to be operated by power from
principal residence is not subject to this limitation             the electrical system of the vehicle or
for the 30 days from the time you begin to move                   conveyance while retaining its capability of
the property there.                                               being operated by other sources of power;
Special Limits of Liability. These limits do not             b. Is away from the "residence premises";
increase the Coverage C limit of liability. The                   and
special limit for each numbered category below is            c. Is used at any time or in any manner for
the total limit for each loss for all property in that            any "business" purpose.
category.                                                    Electronic apparatus includes:
1. $200 on money, bank notes, bullion, gold                  a. Accessories or antennas; or
     other than goldware, silver other than                  b. Tapes, wires, records, discs or other
     silverware, platinum, coins and medals.                      media;
2. $1000 on securities, accounts, deeds,                     for use with any electronic apparatus.
     evidences of debt, letters of credit, notes other   Property Not Covered. We do not cover:
     than bank notes, manuscripts, personal              1. Articles separately described and specifically
     records, passports, tickets and stamps. This            insured in this or other insurance;
     dollar limit applies to these categories            2. Animals, birds or fish;
     regardless of the medium (such as paper or          3. Motor vehicles or all other motorized land
     computer software) on which the material                conveyances.
     exists.
                                                             This includes:
     This limit includes the cost to research, replace
     or restore the information from the lost or             a. Their equipment and accessories; or
     damaged material.                                       b. Electronic apparatus that is designed to be
3. $1000 on watercraft, including their trailers,                 operated solely by use of the power from
     furnishings, equipment and outboard engines                  the electrical system of motor vehicles or
     or motors.                                                   all other motorized land conveyances.
4. $1000 on trailers not used with watercraft.                    Electronic apparatus includes:
5. $1000 for loss by theft of jewelry, watches,                   (1) Accessories or antennas; or
                                                                                                   Page 2 of 16
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         (2) Tapes, wires, records, discs or other             elsewhere.
             media;                                        2. If a loss covered under this Section makes that
         for use with any electronic apparatus.                part of the "residence premises" rented to
         The exclusion of property described in 3.a.           others or held for rental by you not fit to live
         and 3.b. above applies only while the                 in, we cover the:
         property is in or upon the vehicle or                      Fair Rental Value, meaning the fair rental
         conveyance.                                                value of that part of the "residence
    We do cover vehicles or conveyances not                         premises" rented to others or held for rental
    subject to motor vehicle registration which are:                by you less any expenses that do not
    a. Used to service an "insured's" residence;                    continue while the premises is not fit to live
         or                                                         in.
    b. Designed for assisting the handicapped;                 Payment will be for the shortest time required
4. Aircraft and parts.           Aircraft means any            to repair or replace that part of the premises
    contrivance used or designed for flight, except            rented or held for rental.
    model or hobby aircraft not used or designed           3. If a civil authority prohibits you from use of the
    to carry people or cargo;                                  "residence premises" as a result of direct
5. Property of roomers, boarders and other                     damage to neighboring premises by a Peril
    tenants, except property of roomers and                    Insured Against in this policy, we cover the
    boarders related to an "insured";                          Additional Living Expense and Fair Rental Value
6. Property in an apartment regularly rented or                loss as provided under 1. and 2. above for no
    held for rental to others by an "insured,"                 more than two weeks.
    except as provided in Additional Coverages             The periods of time under 1., 2. and 3. above are
    10.;                                                   not limited by expiration of this policy.
7. Property rented or held for rental to others off        We do not cover loss or expense due to
    the "residence premises";                              cancellation of a lease or agreement.
8. "Business" data, including such data stored in:         ADDITIONAL COVERAGES
    a. Books of account, drawings or other paper           1. Debris Removal. We will pay your reasonable
         records; or                                           expense for the removal of:
    b. Electronic data processing tapes, wires,                a. Debris of covered property if a Peril Insured
         records, discs or other software media;                     Against that applies to the damaged
    However, we do cover the cost of blank                           property causes the loss; or
    recording      or    storage    media,    and     of       b. Ash, dust or particles from a volcanic
    pre-recorded computer programs available on                      eruption that has caused direct loss to a
    the retail market; or                                            building or property contained in a building.
9. Credit cards or fund transfer cards except as                This expense is included in the limit of liability
    provided in Additional Coverages 6.                         that applies to the damaged property. If the
COVERAGE D - Loss Of Use                                        amount to be paid for the actual damage to the
The limit of liability for Coverage D is the total limit        property plus the debris removal expense is
for all the coverages that follow.                              more than the limit of liability for the damaged
1. If a loss covered under this Section makes that              property, an additional 5% of that limit of
    part of the "residence premises" where you                  liability is available for debris removal expense.
    reside not fit to live in, we cover, at your                We will also pay your reasonable expense, up
    choice, either of the following. However, if the            to $500, for the removal from the "residence
    "residence premises" is not your principal place            premises" of:
    of residence, we will not provide the option                a. Your tree(s) felled by the peril of
    under paragraph b. below.                                        Windstorm or Hail;
    a. Additional Living Expense, meaning any                   b. Your tree(s) felled by the peril of Weight of
         necessary increase in living expenses                       Ice, Snow or Sleet; or
         incurred by you so that your household                 c. A neighbor's tree(s) felled by a Peril
         can maintain its normal standard of living;                 Insured Against under Coverage C;
         or
                                                                provided the tree(s) damages a covered
    b. Fair Rental Value, meaning the fair rental
                                                                structure. The $500 limit is the most we will
         value of that part of the "residence
                                                                pay in any one loss regardless of the number
         premises" where you reside less any
                                                                of fallen trees.
         expenses that do not continue while the
         premises is not fit to live in.                   2. Reasonable Repairs. In the event that covered
    Payment under a. or b. will be for the shortest            property is damaged by an applicable Peril
    time required to repair or replace the damage              Insured Against, we will pay the reasonable
    or, if you permanently relocate, the shortest              cost incurred by you for necessary measures
    time required for your household to settle                 taken solely to protect against further damage.
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     If the measures taken involve repair to other           c. Loss to an "insured" caused by forgery or
     damaged property, we will pay for those                     alteration of any check or negotiable
     measures only if that property is covered under             instrument; and
     this policy and the damage to that property is          d. Loss to an "insured" through acceptance in
     caused by an applicable Peril Insured Against.              good faith of counterfeit United States or
     This coverage:                                              Canadian paper currency.
     a. Does not increase the limit of liability that        We do not cover use of a credit card or fund
          applies to the covered property;                   transfer card:
     b. Does not relieve you of your duties, in case         a. By a resident of your household;
          of a loss to covered property, as set forth        b. By a person who has been entrusted with
          in SECTION I - CONDITION 2.d.                          either type of card; or
3.   Trees, Shrubs and Other Plants. We cover                c. If an "insured" has not complied with all
     trees, shrubs, plants or lawns, on the                      terms and conditions under which the
     "residence premises," for loss caused by the                cards are issued.
     following Perils Insured Against: Fire or               All loss resulting from a series of acts
     lightning, Explosion, Riot or civil commotion,          committed by any one person or in which any
     Aircraft, Vehicles not owned or operated by a           one person is concerned or implicated is
     resident     of   the     "residence    premises,"      considered to be one loss.
     Vandalism or malicious mischief or Theft.               We do not cover loss arising out of "business"
     We will pay up to 5% of the limit of liability          use or dishonesty of an "insured."
     that applies to the dwelling for all trees,             This coverage is additional insurance.         No
     shrubs, plants or lawns. No more than $500              deductible applies to this coverage.
     of this limit will be available for any one tree,       Defense:
     shrub or plant. We do not cover property
                                                             a. We may investigate and settle any claim or
     grown for "business" purposes.
                                                                 suit that we decide is appropriate. Our
     This coverage is additional insurance.                      duty to defend a claim or suit ends when
4.   Fire Department Service Charge. We will pay                 the amount we pay for the loss equals our
     up to $500 for your liability assumed by                    limit of liability.
     contract or agreement for fire department               b. If a suit is brought against an "insured" for
     charges incurred when the fire department is                liability under the Credit Card or Fund
     called to save or protect covered property from             Transfer Card coverage, we will provide a
     a Peril Insured Against. We do not cover fire               defense at our expense by counsel of our
     department service charges if the property is               choice.
     located within the limits of the city,                  c. We have the option to defend at our
     municipality or protection district furnishing the          expense an "insured" or an "insured's"
     fire department response.                                   bank against any suit for the enforcement
     This coverage is additional insurance.         No           of payment under the Forgery coverage.
     deductible applies to this coverage.                 7. Loss Assessment. We will pay up to $1000
5.   Property Removed.            We insure covered          for your share of loss assessment charged
     property against direct loss from any cause             during the policy period against you by a
     while being removed from a premises                     corporation or association of property owners,
     endangered by a Peril Insured Against and for           when the assessment is made as a result of
     no more than 30 days while removed. This                direct loss to the property, owned by all
     coverage does not change the limit of liability         members collectively, caused by a Peril Insured
     that applies to the property being removed.             Against under COVERAGE A - DWELLING,
6.   Credit Card, Fund Transfer Card, Forgery and            other than earthquake or land shock waves or
     Counterfeit Money.                                      tremors before, during or after a volcanic
     We will pay up to $500 for:                             eruption.
     a. The legal obligation of an "insured" to              This     coverage       applies   only  to   loss
          pay because of the theft or unauthorized           assessments charged against you as owner or
          use     of    credit    cards    issued    to      tenant      of     the    "residence   premises."
          or registered in an "insured's" name;              We do not cover loss assessments charged
     b. Loss resulting from theft or unauthorized            against you or a corporation or association of
          use of a fund transfer card used for               property owners by any governmental body.
          deposit, withdrawal or transfer of funds,          The limit of $1000 is the most we will pay
          issued to or registered in an "insured's"          with respect to any one loss, regardless of the
          name;                                              number of assessments.

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    Condition 1. Policy Period, under SECTIONS I         a. Fire or lightning.
    AND II CONDITIONS, does not apply to this            b. Windstorm or hail.
    coverage.                                               This peril does not include loss to the
8. Collapse. We insure for direct physical loss to          property contained in a building caused by
    covered property involving collapse of a                rain, snow, sleet, sand or dust unless the
    building or any part of a building caused only          direct force of wind or hail damages the
    by one or more of the following:                        building causing an opening in a roof or wall
    a. Perils Insured Against in COVERAGE C -               and the rain, snow, sleet, sand or dust enters
         PERSONAL PROPERTY. These perils apply              through this opening.
         to covered buildings and personal property         This peril includes loss to watercraft and
         for loss insured by this additional coverage;      their trailers, furnishings, equipment, and
    b. Hidden decay;                                        outboard engines or motors, only while inside
    c. Hidden insect or vermin damage;                      a fully enclosed building.
    d. Weight of contents, equipment, animals or         c. Explosion.
         people;                                         d. Riot or civil commotion.
    e. Weight of rain which collects on a roof; or       e. Aircraft, including self-propelled missiles and
    f. Use of defective material or methods in              spacecraft.
         construction, remodeling or renovation if       f. Vehicles.
         the collapse occurs during the course of        g. Smoke, meaning sudden and accidental
         the construction, remodeling or renovation.        damage from smoke.
    Loss to an awning, fence, patio, pavement,              This peril does not include loss caused by
    swimming pool, underground pipe, flue, drain,           smoke from agricultural smudging or
    cesspool, septic tank, foundation, retaining            industrial operations.
    wall, bulkhead, pier, wharf or dock is not
                                                         h. Vandalism or malicious mischief.
    included under items b., c., d., e., and f.
    unless the loss is a direct result of the collapse   i. Falling objects.
    of a building.                                          This peril does not include loss to property
    Collapse does not include settling, cracking,           contained in a building unless the roof or an
    shrinking, bulging or expansion.                        outside wall of the building is first damaged
    This coverage does not increase the limit of            by a failing object. Damage to the falling
    liability applying to the damaged covered               object itself is not included.
    property.                                            j. Weight of ice, snow or sleet which causes
9. Glass or Safety Glazing Material.                        damage to property contained in a building.
    We cover:                                            k. Accidental discharge or overflow of water or
    a. The breakage of glass or safety glazing              steam from within a plumbing, heating, air
         material which is part of a covered                conditioning or automatic fire protective
         building, storm door or storm window; and          sprinkler system or from within a household
                                                            appliance.
    b. Damage to covered property by glass or
         safety glazing material which is part of a         This peril does not include loss:
         building, storm door or storm window.              (1) To the system or appliance from which
    This coverage does not include loss on the                   the water or steam escaped;
    "residence premises" if the dwelling has been           (2) Caused by or resulting from freezing
    vacant for more than 30 consecutive days                     except as provided in the peril of freezing
    immediately before the loss. A dwelling being                below; or
    constructed is not considered vacant.                   (3) On the "residence premises" caused by
    Loss for damage to glass will be settled on the              accidental discharge or overflow which
    basis of replacement with safety glazing                     occurs off the "residence premises."
    materials when required by ordinance or law.            In this peril, a plumbing system does not
    This coverage does not increase the limit of            include a sump, sump pump or related
    liability that applies to the damaged property.         equipment.
10. Landlord's Furnishings. We will pay up to            l. Sudden and accidental tearing apart,
    $2500 for your appliances, carpeting and other          cracking, burning or bulging of a steam or
    household furnishings, in an apartment on the           hot water heating system, an air conditioning
    "residence premises" regularly rented or held           or automatic fire protective sprinkler system,
    for rental to others by an "insured," for loss          or an appliance for heating water.
    caused only by the following Perils Insured             We do not cover loss caused by or resulting
    Against:                                                from freezing under this peril.

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m. Freezing of a plumbing,            heating,   air    n. Sudden and accidental damage from
   conditioning or automatic fire protective                 artificially generated electrical current.
   sprinkler system or of a household appliance.             This peril does not include loss to a tube,
   This peril does not include loss on the                   transistor or similar electronic component.
   "residence premises" while the dwelling is           o. Volcanic eruption other than loss caused by
   unoccupied, unless you have used reasonable               earthquake, land shock waves or tremors.
   care to:                                             The$2500 limit is the most we will pay in any
   (1) Maintain heat in the building; or                one loss regardless of the number of appliances,
   (2) Shut off the water supply and drain the          carpeting or other household furnishings involved
       system and appliances of water.                  in the loss.
                                   SECTION I - PERILS INSURED AGAINST
COVERAGE A - DWELLING and COVERAGE B -                         (5) Discharge,        dispersal,        seepage,
OTHER STRUCTURES                                                   migration, release or escape of
We insure against risk of direct loss to property                  pollutants     unless    the      discharge,
described in Coverages A and B only if that loss is                dispersal, seepage, migration, release
a physical loss to property. We do not insure,                     or escape is itself caused by a Peril
however, for loss:                                                 Insured Against under Coverage C of
1. Involving collapse, other than as provided in                   this policy.
   Additional Coverage 8.;                                         Pollutants means any solid, liquid,
2. Caused by:                                                      gaseous      or    thermal     irritant   or
   a. Freezing of a plumbing, heating, air                         contaminant, including smoke, vapor,
        conditioning or automatic fire protective                  soot, fumes, acids, alkalis, chemicals
        sprinkler system or of a household                         and waste. Waste includes materials
        appliance, or by discharge, leakage or                     to be recycled, reconditioned or
        overflow from within the system or                         reclaimed;
        appliance caused by freezing.           This           (6) Settling,     shrinking,     bulging      or
        exclusion applies only while the dwelling is               expansion, including resultant cracking,
        vacant, unoccupied or being constructed,                   of pavements, patios, foundations,
        unless you have used reasonable care to:                   walls, floors, roofs or ceilings;
        (1) Maintain heat in the building; or                  (7) Birds, vermin, rodents, or insects; or
        (2) Shut off the water supply and drain the            (8) Animals owned or kept by an
            system and appliances of water;                        "insured."
   b. Freezing, thawing, pressure or weight of                 If any of these cause water damage not
        water or ice, whether driven by wind or                otherwise excluded, from a plumbing,
        not, to a:                                             heating, air conditioning or automatic fire
                                                               protective sprinkler system or household
        (1) Fence, pavement, patio or swimming
                                                               appliance, we cover loss caused by the
            pool;
                                                               water including the cost of tearing out and
        (2) Foundation, retaining wall, or bulkhead;           replacing any part of a building necessary
            or                                                 to repair the system or appliance. We do
        (3) Pier, wharf or dock;                               not cover loss to the system or appliance
   c. Theft in or to a dwelling under                          from which this water escaped.
        construction, or of materials and supplies     3. Excluded under Section I - Exclusions.
        for use in the construction until the          Under items 1. and 2., any ensuing loss to
        dwelling is finished and occupied;             property described in Coverages A and B not
   d. Vandalism and malicious mischief if the          excluded or excepted in this policy is covered.
        dwelling has been vacant for more than 30      COVERAGE C - PERSONAL PROPERTY
        consecutive days immediately before the        We insure for direct physical loss to the property
        loss. A dwelling being constructed is not      described in Coverage C caused by a peril listed
        considered vacant;                             below unless the loss is excluded in SECTION I -
   e. Any of the following:                            EXCLUSIONS.
        (1) Wear and tear, marring, deterioration;     1. Fire or lightning.
        (2) Inherent vice, latent defect, mechanical   2. Windstorm or hail.
            breakdown;                                     This peril does not include loss to the property
        (3) Smog, rust or other corrosion, mold,           contained in a building caused by rain, snow,
            wet or dry rot;                                sleet, sand or dust unless the direct force of
        (4) Smoke from agricultural smudging or            wind or hail damages the building causing an
            industrial operations;                         opening in a roof or wall and the rain, snow,
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    sleet, sand or dust enters through this opening.         contained in a building unless the roof or an
    This peril includes loss to watercraft and their         outside wall of the building is first damaged by
    trailers, furnishings, equipment, and outboard           a falling object. Damage to the falling object
    engines or motors, only while inside a fully             itself is not included.
    enclosed building.                                   11. Weight of ice, snow or sleet which causes
3. Explosion.                                                damage to property contained in a building.
4. Riot or civil commotion.                              12. Accidental discharge or overflow of water or
5. Aircraft, including self-propelled missiles and           steam from within a plumbing, heating, air
    spacecraft.                                              conditioning or automatic fire protective
6. Vehicles.                                                 sprinkler system or from within a household
7. Smoke, meaning sudden and accidental                      appliance.
    damage from smoke.                                       This peril does not include loss:
    This peril does not include loss caused by               a. To the system or appliance from which the
    smoke from agricultural smudging or industrial                water or steam escaped;
    operations.                                              b. Caused by or resulting from freezing except
8. Vandalism or malicious mischief.                               as provided in the peril of freezing below;
9. Theft, including attempted theft and loss of                   or
    property from a known place when it is likely            c. On the "residence premises" caused by
    that the property has been stolen.                            accidental discharge or overflow which
    This peril does not include loss caused by                    occurs off the "residence premises."
    theft:                                                   In this peril, a plumbing system does not
    a. Committed by an "insured";                            include a sump, sump pump or related
    b. In or to a dwelling under construction, or            equipment.
         of materials and supplies for use in the        13. Sudden and accidental tearing apart, cracking,
         construction until the dwelling is finished         burning or bulging of a steam or hot water
         and occupied; or                                    heating system, an air conditioning or
    c. From that part of a "residence premises"              automatic fire protective sprinkler system, or
         rented by an "insured" to other than an             an appliance for heating water.
         "insured."                                          We do not cover loss caused by or resulting
         This peril does not include loss caused by          from freezing under this peril.
         theft that occurs off the "residence            14. Freezing of a plumbing,             heating,  air
         premises" of:                                       conditioning or automatic fire protective
    a. Property while at any other residence                 sprinkler system or of a household appliance.
         owned by, rented to, or occupied by an              This peril does not include loss on the
         "insured" except while an "insured" is              "residence premises" while the dwelling is
         temporarily living there.    Property of a          unoccupied, unless you have used reasonable
         student who is an "insured" is covered              care to:
         while at a residence away from home if the          a. Maintain heat in the building; or
         student has been there at any time during           b. Shut off the water supply and drain the
         the 45 days immediately before the loss;                 system and appliances of water.
    b. Watercraft,       and    their    furnishings,    15. Sudden and accidental damage from artificially
         equipment and outboard engines or                   generated electrical current.
         motors; or                                          This peril does not include loss to a tube,
    c. Trailers and campers.                                 transistor or similar electronic component.
10. Falling objects.                                     16. Volcanic eruption other than loss caused by
    This peril does not include loss to property             earthquake, land shock waves or tremors.
                                           SECTION I - EXCLUSIONS
1. We do not insure for loss caused directly or             b. Earth Movement, meaning earthquake
   indirectly by any of the following. Such loss is            including land shock waves or tremors
   excluded regardless of any other cause or                   before,    during    or  after a volcanic
   event contributing concurrently or in any                   eruption; landslide; mine subsidence;
   sequence to the loss.                                       mudflow; earth sinking, rising or shifting;
   a. Ordinance or Law, meaning enforcement of                 unless direct loss by:
        any ordinance or law regulating the                    (1) Fire;
        construction, repair, or demolition of a               (2) Explosion; or
        building     or     other structure, unless            (3) Breakage of glass or safety glazing
        specifically provided under this policy.                   material which is part of a building,
                                                                   storm door or storm window;
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      ensues and then we will pay only for the                (3) Destruction, seizure or use for a military
      ensuing loss.                                                purpose.
      This exclusion does not apply to loss by                Discharge of a nuclear weapon will be
      theft.                                                  deemed a warlike act even if accidental.
   c. Water Damage, meaning:                              g. Nuclear Hazard, to the extent set forth in the
      (1) Flood, surface water, waves, tidal                  Nuclear Hazard Clause of SECTION I -
          water, overflow of a body of water, or              CONDITIONS.
          spray from any of these, whether or             h. Intentional Loss, meaning any loss arising out
          not driven by wind;                                 of any act committed:
      (2) Water which backs up through sewers                 (1) By or at the direction of an "insured";
          or drains or which overflows from a                      and
          sump; or                                            (2) With the intent to cause a loss.
      (3) Water below the surface of the ground,        2. We do not insure for loss to property described
          including water which exerts pressure             in Coverages A and B caused by any of the
          on or seeps or leaks through a building,          following.     However, any ensuing loss to
          sidewalk,      driveway,     foundation,          property described in Coverages A and B not
          swimming pool or other structure.                 excluded or excepted in this policy is covered.
      Direct loss by fire, explosion or theft               a. Weather conditions.            However, this
      resulting from water damage is covered.                    exclusion only applies if weather conditions
   d. Power Failure, meaning the failure of power                contribute in any way with a cause or
      or other utility service if the failure takes              event excluded in paragraph 1. above to
      place off the "residence premises." But, if                produce the loss;
      a Peril Insured Against ensues on the                 b. Acts or decisions, including the failure to
      "residence premises," we will pay only for                 act or decide, of any person, group,
      that ensuing loss.                                         organization or governmental body;
   e. Neglect, meaning neglect of the "insured"             c. Faulty, inadequate or defective:
      to use all reasonable means to save and                    (1) Planning,       zoning,    development,
      preserve property at and after the time of a                   surveying, siting;
      loss.                                                      (2) Design, specifications, workmanship,
   f. War, including the following and any                           repair,     construction,    renovation,
      consequence of any of the following:                           remodeling, grading, compaction;
      (1) Undeclared war, civil war, insurrection,               (3) Materials used in repair, construction,
          rebellion or revolution;                                   renovation or remodeling; or
      (2) Warlike act by a military force or                     (4) Maintenance;
          military personnel; or                                 of part or all of any property whether on or
                                                                 off the "residence premises."
                                          SECTION I - CONDITIONS
1. Insurable Interest and Limit of Liability.                 (1) Make reasonable and necessary repairs
   Even if more than one person has an insurable                  to protect the property; and
   interest in the property covered, we will not be           (2) Keep an accurate record of repair
   liable in any one loss:                                        expenses;
   a. To the "insured" for more than the amount            e. Prepare an inventory of damaged personal
        of the "insured's" interest at the time of            property showing the quantity, description,
        loss; or                                              actual cash value and amount of loss.
   b. For more than the applicable limit of                   Attach all bills, receipts and related
        liability.                                            documents that justify the figures in the
2. Your Duties After Loss. In case of a loss to               inventory;
   covered property, you must see that the                 f. As often as we reasonably require:
   following are done:                                        (1) Show the damaged property;
   a. Give prompt notice to us or our agent;                  (2) Provide us with records and documents
   b. Notify the police in case of loss by theft;                 we request and permit us to make
                                                                  copies; and
   c. Notify the credit card or fund transfer card
        company in case of loss under Credit Card             (3) Submit to examination under oath,
        or Fund Transfer Card coverage;                           while not in the presence of any other
                                                                  "insured," and sign the same;
   d. Protect the property from further damage.
                                                           g. Send to us, within 60 days after our
        If repairs to the property are required, you
                                                              request, your signed, sworn proof of loss
        must:
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       which sets forth, to the best of your            (2) If, at the time of loss, the amount of
       knowledge and belief:                                insurance in this policy on the damaged
       (1) The time and cause of loss;                      building is less than 80% of the full
       (2) The interest of the "insured" and all            replacement cost of the building
           others in the property involved and all          immediately before the loss, we will
           liens on the property;                           pay the greater of the following
       (3) Other insurance which may cover the              amounts, but not more than the limit of
           loss;                                            liability under this policy that applies to
                                                            the building:
       (4) Changes in title or occupancy of the
                                                            (a) The actual cash value of that part
           property during the term of the policy;
                                                                 of the building damaged; or
       (5) Specifications of damaged buildings              (b) That proportion of the cost to
           and detailed repair estimates;                        repair or replace, after application
       (6) The inventory of damaged personal                     of     deductible     and     without
           property described in 2.e. above;                     deduction for depreciation, that
       (7) Receipts for additional living expenses               part of the building damaged,
           incurred and records that support the                 which     the total      amount     of
           fair rental value loss; and                           insurance in this policy on the
       (8) Evidence or affidavit that supports a                 damaged building bears to 80% of
           claim under the Credit Card, Fund                     the replacement cost of the
           Transfer Card, Forgery and Counterfeit                building.
           Money coverage, stating the amount           (3) To determine the amount of insurance
           and cause of loss.                               required to equal 80% of the full
3. Loss Settlement. Covered property losses are             replacement cost of the building
   settled as follows:                                      immediately before the loss, do not
   a. Property of the following types:                      include the value of:
       (1) Personal property;                               (a) Excavations, foundations, piers or
                                                                 any supports which are below the
       (2) Awnings,        carpeting,      household             undersurface      of    the    lowest
           appliances, outdoor antennas and                      basement floor;
           outdoor equipment, whether or not                (b) Those supports in (a) above which
           attached to buildings; and                            are below the surface of the ground
       (3) Structures that are not buildings;                    inside the foundation walls, if there
       at actual cash value at the time of loss but              is no basement; and
       not more than the amount required to                 (c) Underground flues, pipes, wiring
       repair or replace.                                        and drains.
   b. Buildings under Coverage A or B at                (4) We will pay no more than the actual
       replacement cost without deduction for               cash value of the damage until actual
       depreciation, subject to the following:              repair or replacement is complete.
       (1) If, at the time of loss, the amount of           Once actual repair or replacement is
           insurance in this policy on the damaged          complete, we will settle the loss
           building is 80% or more of the full              according to the provisions of b.(1) and
           replacement cost of the building                 b.(2) above.
           immediately before the loss, we will             However, if the cost to repair or
           pay the cost to repair or replace, after         replace the damage is both:
           application of deductible and without            (a) Less than 5% of the amount of
           deduction for depreciation, but not                   insurance in this policy on the
           more than the least of the following                  building; and
           amounts:                                         (b) Less than $2500;
           (a) The limit of liability under this            we will settle the loss according to the
                policy that applies to the building;        provisions of b.(1) and b.(2) above
           (b) The replacement cost of that part            whether or not actual repair or
                of the building damaged for like            replacement is complete.
                construction and use on the same        (5) You may disregard the replacement
                premises; or                                cost loss settlement provisions and
                                                            make claim under this policy for loss or
           (c) The necessary amount actually
                                                            damage to buildings on an actual cash
                spent to repair or replace the
                                                            value basis. You may then make claim
                damaged building.

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    within 180 days after loss for any additional             a. Reach an agreement with you;
    liability according to the provisions of this             b. There is an entry of a final judgement; or
    Condition 3. Loss Settlement.                             c. There is a filing of an appraisal award with
4. Loss to a Pair or Set. In case of loss to a pair               us.
    or set we may elect to:                               11. Abandonment of Property.            We need not
    a. Repair or replace any part to restore the              accept any property abandoned by an
         pair or set to its value before the loss; or         "insured."
    b. Pay the difference between actual cash             12. Mortgage Clause.
         value of the property before and after the           The word "mortgagee" includes trustee.
         loss.                                                If a mortgagee is named in this policy, any loss
5. Glass Replacement. Loss for damage to glass                payable under Coverage A or B will be paid to
    caused by a Peril Insured Against will be                 the mortgagee and you, as interests appear. If
    settled on the basis of replacement with safety           more than one mortgagee is named, the order
    glazing materials when required by ordinance              of payment will be the same as the order of
    or law.                                                   precedence of the mortgages.
6. Appraisal. If you and we fail to agree on the              If we deny your claim, that denial will not
    amount of loss, either may demand an                      apply to a valid claim of the mortgagee, if the
    appraisal of the loss. In this event, each party          mortgagee:
    will choose a competent appraiser within 20               a. Notifies us of any change in ownership,
    days after receiving a written request from the                occupancy or substantial change in risk of
    other.     The two appraisers will choose an                   which the mortgagee is aware;
    umpire. If they cannot agree upon an umpire               b. Pays any premium due under this policy on
    within 15 days, you or we may request that                     demand if you have neglected to pay the
    the choice be made by a judge of a court of                    premium; and
    record in the state where the "residence                  c. Submits a signed, sworn statement of loss
    premises" is located.         The appraisers will              within 60 days after receiving notice from
    separately set the amount of loss.           If the            us of your failure to do so.            Policy
    appraisers submit a written report of an                       conditions relating to Appraisal, Suit
    agreement to us, the amount agreed upon will                   Against Us and Loss Payment apply to the
    be the amount of loss. If they fail to agree,                  mortgagee.
    they will submit their differences to the umpire.         If we decide to cancel or not to renew this
    A decision agreed to by any two will set the              policy, the mortgagee will be notified at least
    amount of loss.                                           10 days before the date cancellation or
                                                              nonrenewal takes effect.
    Each party will:
                                                              If we pay the mortgagee for any loss and deny
    a. Pay its own appraiser; and
                                                              payment to you:
    b. Bear the other expenses of the appraisal               a. We are subrogated to all the rights of the
         and umpire equally.                                       mortgagee granted under the mortgage on
7. Other Insurance. If a loss covered by this                      the property; or
    policy is also covered by other insurance, we             b. At our option, we may pay to the
    will pay only the proportion of the loss that the              mortgagee the whole principal on the
    limit of liability that applies under this policy              mortgage plus any accrued interest. In this
    bears to the total amount of insurance covering                event, we will receive a full assignment
    the loss.                                                      and transfer of the mortgage and all
8. Suit Against Us. No action can be brought                       securities held as collateral to the mortgage
    unless the policy provisions have been                         debt.
    complied with and the action is started within            Subrogation will not impair the right of the
    one year after the date of loss.                          mortgagee to recover the full amount of the
9. Our Option. If we give you written notice                  mortgagee's claim.
    within 30 days after we receive your signed,          13. No Benefit to Bailee. We will not recognize
    sworn proof of loss, we may repair or replace             any assignment or grant any coverage that
    any part of the damaged property with like                benefits a person or organization holding,
    property.                                                 storing or moving property for a fee regardless
10. Loss Payment. We will adjust all losses with              of any other provision of this policy.
    you. We will pay you unless some other                14. Nuclear Hazard Clause.
    person is named in the policy or is legally               a. "Nuclear Hazard" means any nuclear
    entitled to receive payment.          Loss will be             reaction,     radiation,    or     radioactive
    payable 60 days after we receive your proof of                 contamination, all whether controlled or
    loss and:                                                      uncontrolled or however caused, or any
                                                                   consequence of any of these.
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    b. Loss caused by the nuclear hazard will not            under this policy, you or we will notify the
        be considered loss caused by fire,                   other of the recovery. At your option, the
        explosion, or smoke, whether these perils            property will be returned to or retained by you
        are specifically named in or otherwise               or it will become our property. If the recovered
        included within the Perils Insured Against           property is returned to or retained by you, the
        in Section I.                                        loss payment will be adjusted based on the
    c. This policy does not apply under Section I            amount you received for the recovered
        to loss caused directly or indirectly by             property.
        nuclear hazard, except that direct loss by       16. Volcanic Eruption Period.        One or more
        fire resulting from the nuclear hazard is            volcanic eruptions that occur within a 72-hour
        covered.                                             period will be considered as one volcanic
15. Recovered Property. If you or we recover any             eruption.
    property for which we have made payment
                                     SECTION II - LIABILITY COVERAGES
COVERAGE E - Personal Liability                          causing "bodily injury." Medical expenses means
If a claim is made or a suit is brought against an       reasonable     charges    for   medical,    surgical,
"insured" for damages because of "bodily injury"         x-ray, dental, ambulance, hospital, professional
or "property damage" caused by an "occurrence"           nursing, prosthetic devices and funeral services.
to which this coverage applies, we will:                 This coverage does not apply to you or regular
1. Pay up to our limit of liability for the damages      residents of your household except "residence
    for which the "insured" is legally liable.           employees." As to others, this coverage applies
    Damages include prejudgment interest awarded         only:
    against the "insured"; and                           1. To a person on the "insured location" with the
2. Provide a defense at our expense by counsel of            permission of an "insured"; or
    our    choice,     even        if the   suit   is    2. To a person off the "insured location," if the
    groundless, false or fraudulent.       We may            "bodily injury":
    investigate and settle any claim or suit that we         a. Arises out of a condition on the "insured
    decide is appropriate. Our duty to settle or                 location" or the ways immediately
    defend ends when the amount we pay for                       adjoining;
    damages resulting from the "occurrence"                  b. Is caused by the activities of an "insured";
    equals our limit of liability.                           c. Is caused by a "residence employee" in the
COVERAGE F - Medical Payments To Others                          course of the "residence employee's"
We will pay the necessary medical expenses that                  employment by an "insured"; or
are incurred or medically ascertained within                 d. Is caused by an animal owned by or in the
three years from the date of an accident                         care of an "insured."
                                          SECTION II - EXCLUSIONS
1. Coverage E - Personal Liability and Coverage F              (2) In part for use only as a residence,
   - Medical Payments to Others do not apply to                    unless a single family unit is intended
   "bodily injury" or "property damage":                           for use by the occupying family to
   a. Which is expected or intended by the                         lodge more than two roomers or
      "insured";                                                   boarders; or
   b. Arising out of or in connection with a                   (3) In part, as an office, school, studio or
      "business" engaged in by an "insured."                       private garage;
      This exclusion applies but is not limited to          d. Arising out of the rendering of or failure to
      an act or omission, regardless of its nature             render professional services;
      or circumstance, involving a service or duty          e. Arising out of a premises:
      rendered, promised, owed, or implied to be               (1) Owned by an "insured";
      provided because of the nature of the                    (2) Rented to an "insured"; or
      "business";                                              (3) Rented to others by an "insured";
                                                               that is not an "insured location";
   c. Arising out of the rental or holding for
                                                            f. Arising out of:
      rental of any part of any premises by an
                                                               (1) The ownership, maintenance, use,
      "insured." This exclusion does not apply
                                                                   loading or unloading of motor vehicles
      to the rental or holding for rental of an
                                                                   or     all    other    motorized     land
      "insured location":
                                                                   conveyances, including trailers, owned
      (1) On an occasional basis if used only as                   or operated by or rented or loaned to
           a residence;                                            an "insured";
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   (2) The entrustment by an "insured" of a                    (d) One or more outboard engines or
        motor vehicle or any other motorized                       motors with more than 25 total
        land conveyance to any person; or                          horsepower if the outboard engine
   (3) Vicarious liability, whether or not                         or motor is not owned by an
        statutorily imposed, for the actions of a                  "insured";
        child or minor using a conveyance                      (e) Outboard engines or motors of
        excluded in paragraph (1) or (2) above.                    more than 25 total horsepower
   This exclusion does not apply to:                               owned by an "insured" if:
   (1) A trailer not towed by or carried on a                      (i) You acquire them prior to the
        motorized land conveyance.                                      policy period; and
   (2) A motorized land conveyance designed                             (a) You declare them at policy
        for recreational use off public roads,                              inception; or
        not     subject    to   motor      vehicle                      (b) Your intention to insure is
        registration and:                                                   reported to us in writing
                                                                            within 45 days after you
        (a) Not owned by an "insured"; or
                                                                            acquire     the    outboard
        (b) Owned by an "insured" and on an                                 engines or motors.
            "insured location";                                    (ii) You acquire them during the
   (3) A motorized golf cart when used to                               policy period.
        play golf on a golf course;                                This coverage applies for the policy
   (4) A vehicle or conveyance not subject to                      period.
        motor vehicle registration which is:              (2) That are sailing vessels, with or
        (a) Used to service an "insured's"                     without auxiliary power:
            residence;                                         (a) Less than 26 feet in overall length;
        (b) Designed      for    assisting    the              (b) 26 feet or more in overall length,
            handicapped; or                                        not owned by or rented to an
        (c) In dead storage on an "insured                         "insured."
            location";                                    (3) That are stored;
g. Arising out of:                                   h. Arising out of:
   (1) The ownership, maintenance, use,                 (1) The     ownership,      maintenance,    use,
        loading or unloading of an excluded                 loading or unloading of an aircraft;
        watercraft described below;                     (2) The entrustment by an "insured" of an
   (2) The entrustment by an "insured" of an                aircraft to any person; or
        excluded watercraft described below to          (3) Vicarious liability, whether or not
        any person; or                                      statutorily imposed, for the actions of a
                                                            child or minor using an aircraft.
   (3) Vicarious liability, whether or not
                                                        An aircraft means any contrivance used or
        statutorily imposed, for the actions of a
                                                        designed for flight, except model or hobby
        child or minor using an excluded
                                                        aircraft not used or designed to carry people
        watercraft described below.
                                                        or cargo;
   Excluded watercraft are those that are            i. Caused directly or indirectly by war,
   principally designed to be propelled by              including the following and any consequence
   engine power or electric motor, or are               of any of the following:
   sailing vessels, whether owned by or                 (1) Undeclared war, civil war, insurrection,
   rented to an "insured."        This exclusion            rebellion or revolution;
   does not apply to watercraft:
                                                        (2) Warlike act by a military force or military
   (1) That are not sailing vessels and are                 personnel; or
        powered by:                                     (3) Destruction, seizure or use for a military
        (a) Inboard or inboard-outdrive engine              purpose.
            or motor power of 50 horsepower             Discharge of a nuclear weapon will be
            or less not owned by an "insured";          deemed a warlike act even if accidental;
        (b) Inboard or inboard-outdrive engine       j. Which arises out of the transmission of a
            or motor power of more than 50              communicable disease by an "insured";
            horsepower not owned by or               k. Arising out of sexual molestation, corporal
            rented to an "insured";                     punishment or physical or mental abuse; or
        (c) One or more outboard engines or          l. Arising out of the use, sale, manufacture,
            motors with 25 total horsepower or          delivery, transfer or possession by any
            less;                                       person of a Controlled Substance(s) as

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      defined by the Federal Food and Drug Law at           e. "Bodily injury" or "property damage" for
      21 U.S.C.A. Sections 811 and 812.                        which an "insured" under this policy:
      Controlled Substances include but are not                (1) Is also an insured under a nuclear
      limited to cocaine, LSD, marijuana and all                    energy liability policy; or
      narcotic drugs.      However, this exclusion             (2) Would be an insured under that policy
      does not apply to the legitimate use of                       but for the exhaustion of its limit of
      prescription drugs by a person following the                  liability.
      orders of a licensed physician.                          A nuclear energy liability policy is one
  Exclusions e., f., g., and h. do not apply to                issued by:
  "bodily injury" to a "residence employee" arising            (1) American Nuclear Insurers;
  out of and in the course of the "residence                   (2) Mutual       Atomic      Energy     Liability
  employees" employment by an "insured."                            Under-writers;
2. Coverage E - Personal Liability, does not apply             (3) Nuclear Insurance          Association of
    to:                                                             Canada;
    a. Liability:                                              or any of their successors; or
         (1) For any loss assessment charged                f. "Bodily injury" to you or an "insured"
             against you as a member of an                     within the meaning of part a. or b. of
             association, corporation or community             "insured" as defined.
             of property owners;
                                                         3. Coverage F - Medical Payments to Others,
         (2) Under any contract or agreement.
                                                            does not apply to "bodily injury":
             However, this exclusion does not apply
                                                            a. To a "residence employee" if the "bodily
             to written contracts:
                                                               injury":
             (a) That    directly   relate  to   the
                 ownership, maintenance or use of              (1) Occurs off the "insured location"; and
                 an "insured location"; or                     (2) Does not arise out of or in the course
             (b) Where the liability of others is                   of      the    "residence    employee's"
                 assumed by the "insured" prior to                  employment by an "insured";
                 an "occurrence";                           b. To any person eligible to receive benefits:
             unless excluded in (1) above or                   (1) Voluntarily provided; or
             elsewhere in this policy;                         (2) Required to be provided;
    b. "Property damage" to property owned by                  under any:
         the "insured";                                        (1) Workers' compensation law;
    c. "Property damage" to property rented to,                (2) Non-occupational disability law; or
         occupied or used by or in the care of the             (3) Occupational disease law;
         "insured." This exclusion does not apply           c. From any:
         to "property damage" caused by fire,                  (1) Nuclear reaction;
         smoke or explosion;                                   (2) Nuclear radiation; or
    d. "Bodily injury" to any person eligible to               (3) Radioactive contamination;
         receive any benefits:                                 all whether controlled or uncontrolled or
         (1) Voluntarily provided; or                          however caused; or
         (2) Required to be provided;                          (4) Any consequence of any of these; or
         by the "insured" under any:                        d. To any person, other than a "residence
         (1) Workers' compensation law;                        employee" of an "insured," regularly
         (2) Non-occupational disability law; or               residing on any part of the "insured
         (3) Occupational disease law;                         location."
                                    SECTION II - ADDITIONAL COVERAGES
We cover the following in addition to the limits of          c. Reasonable expenses incurred by an
liability:                                                      "insured" at our request, including actual
1. Claim Expenses. We pay:                                      loss of earnings (but not loss of other
                                                                income) up to $50 per day, for assisting us
     a. Expenses we incur and costs taxed against               in the investigation or defense of a claim or
           an "insured" in any suit we defend;                  suit; and
     b. Premiums on bonds required in a suit we              d. Interest on the entire judgment which
           defend, but not for bond amounts more                accrues after entry of the judgment and
           than the limit of liability for Coverage E.          before we pay or tender, or deposit in
           We need not apply for or furnish any bond;           court that part of the judgment which does
                                                                not exceed the limit of liability that applies.

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2. First Aid Expenses. We will pay expenses for              a. "Bodily injury" or "property damage" not
   first aid to others incurred by an "insured" for              excluded under Section II of this policy; or
   "bodily injury" covered under this policy. We             b. Liability for an act of a director, officer or
   will not pay for first aid to you or any other                trustee in the capacity as a director, officer
   "insured."                                                    or trustee, provided:
3. Damage to Property of Others. We will pay, at                 (1) The director, officer or trustee is elected
   replacement cost, up to $500 per "occurrence"                     by the members of a corporation or
   for "property damage" to property of others                       association of property owners; and
   caused by an "insured."
                                                                 (2) The director, officer or trustee serves
   We will not pay for "property damage":
                                                                     without deriving any income from the
   a. To the extent of any amount recoverable
                                                                     exercise of duties which are solely on
        under Section I of this policy;
                                                                     behalf of a corporation or association of
   b. Caused intentionally by an "insured" who
                                                                     property owners.
        is 13 years of age or older;
   c. To property owned by an "insured";                   This coverage applies only to loss assessments
   d. To property owned by or rented to a tenant           charged against you as owner or tenant of the
        of an "insured" or a resident in your              "residence premises."
        household; or                                      We do not cover loss assessments charged
   e. Arising out of:                                      against you or a corporation or association of
   (1) A "business" engaged in by an "insured";            property owners by any governmental body.
   (2) Any act or omission in connection with a            Regardless of the number of assessments, the
        premises owned, rented or controlled by an         limit of $1000 is the most we will pay for loss
        "insured,"    other than the "insured              arising out of:
        location"; or                                      a. One accident, including continuous or
   (3) The ownership, maintenance, or use of                    repeated exposure to substantially the same
        aircraft, watercraft or motor vehicles or all           general harmful condition; or
        other motorized land conveyances.                  b. A covered act of a director, officer or trustee.
        This exclusion does not apply to a                      An act involving more than one director,
        motorized land conveyance designed for                  officer or trustee is considered to be a single
        recreational use off public roads, not                  act.
        subject to motor vehicle registration and
                                                           The following do not apply to this coverage:
        not owned by an "insured."
4. Loss Assessment. We will pay up to $1000                1. Section II - Coverage E - Personal Liability
   for your share of loss assessment charged                    Exclusion 2.a.(1);
   during the policy period against you by a               2.   Condition 1. Policy Period, under SECTIONS I
   corporation or association of property owners,               AND II - CONDITIONS.
   when the assessment is made as a result of:
                                          SECTION II - CONDITIONS
1. Limit of Liability.      Our total liability under         condition will not increase our limit of liability
   Coverage E for all damages resulting from any              for any one "occurrence."
   one "occurrence" will not be more than the              3. Duties After Loss. In case of an accident or
   limit of liability for Coverage E as shown in the          "occurrence," the "insured" will perform the
   Declarations. This limit is the same regardless            following duties that apply. You will help us
   of the number of "insureds," claims made or                by seeing that these duties are performed:
   persons injured.         All "bodily injury" and           a. Give written notice to us or our agent as
   "property damage" resulting from any one                        soon as is practical, which sets forth:
   accident or from continuous or repeated
   exposure to substantially the same general                      (1) The identity of the policy and
   harmful conditions shall be considered to be                        "insured";
   the result of one "occurrence."                                 (2) Reasonably available information on the
                                                                       time, place and circumstances of the
   Our total liability under Coverage F for all                        accident or "occurrence"; and
   medical expense payable for "bodily injury" to
   one person as the result of one accident                        (3) Names and addresses of any claimants
   will not be more than the limit of liability for                    and witnesses;
   Coverage F as shown in the Declarations.                   b. Promptly forward to us every notice,
                                                                   demand, summons or other process
2. Severability of Insurance.         This insurance
                                                                   relating to the accident or "occurrence";
   applies separately to each "insured."         This

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   c. At our request, help us:                               b. Authorize us to obtain copies of medical
        (1) To make settlement;                                   reports and records.
        (2) To enforce any right of contribution or          The injured person will submit to a physical
             indemnity against any person or                 exam by a doctor of our choice when and as
             organization who may be liable to an            often as we reasonably require.
             "insured";                                 5.   Payment of Claim - Coverage F - Medical
        (3) With the conduct of suits and attend             Payments to Others.           Payment under this
             hearings and trials; and                        coverage is not an admission of liability by an
        (4) To secure and give evidence and obtain           "insured" or us.
             the attendance of witnesses;               6.   Suit Against Us. No action can be brought
   d. Under the coverage - Damage to Property                against us unless there has been compliance
        of Others - submit to us within 60 days              with the policy provisions.
        after the loss, a sworn statement of loss            No one will have the right to join us as a party
        and show the damaged property, if in the             to any action against an "insured." Also, no
        "insured's" control;                                 action with respect to Coverage E can be
   e. The "insured" will not, except at the                  brought against us until the obligation of the
        "insured's" own cost, voluntarily make               "insured" has been determined by final
        payment, assume obligation or incur                  judgment or agreement signed by us.
        expense other than for first aid to others at   7.   Bankruptcy of an Insured.             Bankruptcy or
        the time of the "bodily injury."                     insolvency of an "insured" will not relieve us of
4. Duties of an Injured Person - Coverage F -                our obligations under this policy.
   Medical Payments to Others.                          8.   Other Insurance - Coverage E - Personal
   The injured person or someone acting for the              Liability. This insurance is excess over other
   injured person will:                                      valid and collectible insurance except insurance
   a. Give us written proof of claim, under oath             written specifically to cover as excess over the
        if required, as soon as is practical; and            limits of liability that apply in this policy.

                                     SECTIONS I AND II - CONDITIONS
1. Policy Period. This policy applies only to loss      5. Cancellation.
   in Section I or "bodily injury" or "property            a. You may cancel this policy at any time by
   damage" in Section II, which occurs during the             returning it to us or by letting us know in
   policy period.                                             writing of the date cancellation is to take
2. Concealment or Fraud. The entire policy will               effect.
   be void if, whether before or after a loss, an          b. We may cancel this policy only for the
   "insured" has:                                             reasons stated below by letting you know
    a. Intentionally concealed or misrepresented              in writing of the date cancellation takes
        any material fact or circumstance;                    effect. This cancellation notice may be
    b. Engaged in fraudulent conduct; or                      delivered to you, or mailed to you at your
    c. Made false statements;                                 mailing address shown in the Declarations.
    relating to this insurance.                               Proof of mailing will be sufficient proof of
3. Liberalization Clause. If we make a change                 notice.
   which broadens coverage under this edition                 (1) When you have not paid the premium,
   of our policy without additional premium                       we may cancel at any time by letting
   charge, that change will automatically apply                   you know at least 10 days before the
   to your insurance as of the date we implement                  date cancellation takes effect.
   the change in your state, provided that this               (2) When this policy has been in effect for
   implementation date falls within 60 days prior                 less than 60 days and is not a renewal
   to or during the policy period stated in the                   with us, we may cancel for any reason
   Declarations.                                                  by letting you know at least 10 days
                                                                  before the date cancellation takes
   This Liberalization Clause does not apply to
                                                                  effect.
   changes implemented through introduction of a
                                                              (3) When this policy has been in effect for
   subsequent edition of our policy.
                                                                  60 days or more, or at any time if it is
4. Waiver or Change of Policy Provisions.
                                                                  a renewal with us, we may cancel:
   A waiver or change of a provision of this policy               (a) If there has been a material
   must be in writing by us to be valid. Our                           misrepresentation of fact which if
   request for an appraisal or examination will not                    known to us would have caused us
   waive any of our rights.                                            not to issue the policy; or
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           (b) If the risk has changed substantially             8. Subrogation. An "insured" may waive in
               since the policy was issued.                         writing before a loss all rights of recovery
           This can be done by letting you know                     against any person. If not waived, we may
           at least 30 days before the date                         require an assignment of rights of recovery for
           cancellation takes effect.                               a loss to the extent that payment is made by
                                                                    us.
       (4) When this policy is written for a period                 If an assignment is sought, an "insured" must
           of more than one year, we may cancel                     sign and deliver all related papers and
           for any reason at anniversary by letting                 cooperate with us.
           you know at least 30 days before the
                                                                    Subrogation does not apply under Section II to
           date cancellation takes effect.
                                                                    Medical Payments to Others or Damage to
   c. When this policy is cancelled, the premium                    Property of Others.
       for the period from the date of cancellation              9. Death.      If any person named in the
       to the expiration date will be refunded pro                  Declarations or the spouse, if a resident of the
       rata.                                                        same household, dies:
   d. If the return premium is not refunded with                    a. We insure the legal representative of the
       the notice of cancellation or when this                          deceased but only with respect to the
       policy is returned to us, we will refund it                      premises and property of the deceased
       within a reasonable time after the date                          covered under the policy at the time of
       cancellation takes effect.                                       death;
6. Nonrenewal. We may elect not to renew this                       b. "Insured" includes:
   policy. We may do so by delivering to you, or                        (1) Any member of your household who is
   mailing to you at your mailing address shown                             an "insured" at the time of your death,
   in the Declarations, written notice at least 30                          but only while a resident of the
   days before the expiration date of this policy.                          "residence premises"; and
   Proof of mailing will be sufficient proof of                         (2) With respect to your property, the
   notice.                                                                  person    having    proper    temporary
7. Assignment. Assignment of this policy will not                           custody     of   the    property    until
   be valid unless we give our written consent.                             appointment and qualification of a legal
                                                                            representative.
                                          *MUTUAL POLICY CONDITIONS

You are a member of the Liberty Mutual Fire Insurance Company while this policy is in force. Membership
entitles you to vote in person or by proxy at meetings of the company. The Annual Meeting is in Boston,
Massachusetts, on the second Wednesday in April each year at 11 o'clock in the morning.
Also, as a member, you will receive any dividends declared on this policy by the Directors.
This policy is classified in Dividend Class II.
This policy has been signed by our President and Secretary at Boston, Massachusetts, and countersigned on
the Declarations Page by an authorized representative.



*These conditions apply only if Liberty Mutual Fire Insurance Company is shown in the Declarations as the
insurer.




                   SECRETARY                                                    PRESIDENT




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                                                                                                                        Si Mutagl
                                                                                                                               INSURANCE
       HOMEPROTECTOR                         PLUS ENDORSEMENT
       A.   INCREASED SPECIAL LIMIT OF LIABILITY - JEWELRY, WATCHES,                                       FURS, PRECIOUS AND
            SEMI-PRECIOUS STONES
            Section     |, Coverage       C - Personal      Property.     Special Limits of Liability.         Paragraph    5 is replaced with:
            5.    Jewelry, watches, furs, precious and semi-precious stones are insured for accidental direct
                  physical loss or damage. The following exclusions and limitations apply:
                  a.    $2500 for loss by theft, subject to               a maximum      of $1000 for any one article.
                  b.    The limit of liability stated in the declarations page for Coverage                        C, for loss caused by perils
                        named under Coverage C of this policy, other than theft.
                        $2500 for loss caused by perils not named                   and not excluded         in this policy, subject to a
                        maximum of $1000 for any article.
                        We do not cover loss or damage caused by mechanical                         breakdown,        wear and tear, gradual
                        deterioration, insects, vermin or inherent vice.
       B.   REPLACEMENT             COST     PROVISION        - DWELLING       AND     PERSONAL          PROPERTY
            You    must meet the following additional Section | Condition                       for this provision to apply:
            17. Additions or Changes to Dwelling - Notice to Company. You must inform us within 90 days of
                the start of any additions, alterations or improvements to the dwelling that will increase the
                replacement cost of the dwelling by $5,000 or more.
            If you meet Condition            17, then Section        |, Condition    3. Loss Settlement, is deleted and replaced            by
            the following:
            3.    Loss Settlement.           Covered      property    losses are settled as follows:
                  a.    The applicable limit of liability for Buildings under Coverage A or B is the replacement cost,
                        after application of deductible and without deduction for depreciation, subject to the
                        following:
                        (1)   We    will pay the cost of repair or replacement,               but not exceeding:
                              (a)   The replacement cost of that part of the building damaged using like construction                            on
                                    the same premises and intended for the same occupancy and use;
                              (b)   With respect to Coverage A, an amount not exceeding 20% greater than the limit of
                                    liability stated in the declaration, as modified by the Inflation Protection Provision of
                                    the policy;
                              (c)   With respect to Coverage            B, the limit of liability stated in the declaration, as modified
                                    by the   Inflation    Protection    Provision    of the   policy;

                              (d)   The amount      actually and necessarily spent to repair or replace the damage.
                        (2) The applicable limit of liability for roof surfacing, roof vents and roof flashing materials
                            for Buildings under Coverage A or B is the actual cash value at the time of loss but not
                             more than the amount required to repair or replace if the loss to the roof surfacing
                             materials is caused by the peril of Windstorm or Hail and the policy is endorsed with the
                            Actual Cash Value Loss Settlement Windstorm or Hail Losses to Roof Surfacing
                             endorsement (FMHO 3325 03 12)
                        (3)   We will pay no more than the actual cash value of the damage until actual repair or
                              replacement is complete. Once actual repair or replacement is complete, we will settle
                              the loss according to the provisions of a.(1) above.
                              However,       if the cost to repair or replace the damage                is both:
                              (a)   Less than 5%         of the amount     of insurance       in this policy on the building;
                                    and
                              (b)   Less than    $2500;
                              We will settle the loss according to the provisions                  of a.(1) above whether or not actual
                              repair or replacement is complete.
FMHO 3331   03 12                                                    Liberty Mutual Group                                                        Page   1 of 2
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                                                                                                                                 INSURANCE

                    b.    Awnings, outdoor antennas and outdoor equipment, whether or not attached to buildings,
                          and structures that are not buildings; at actual cash value at the time of loss but not
                          exceeding the amount needed to repair or replace.

                    c.    Personal property, carpeting and household appliances: at replacement cost but not
                          exceeding the amount needed to repair or replace subject to the following:
                          (1)   Our limit of liability for loss to Personal        Property shall not exceed the smallest of the
                                following:
                                (a)    Replacement cost with a similar item of like kind and quality at the time of loss;
                                (b)    The full cost of repair;
                                (c)    Any special limit of liability described      in the policy or stated in this endorsement;                    or
                                (d)    The Coverage C limit of liability stated in the declarations, as modified                    by the
                                       Inflation Protection of the policy.
                          (2)   This endorsement       shall not apply to:
                                (a)    Fine arts and items which,      by their nature cannot          be replaced     with new        items;
                                (b)    Articles whose age or history contribute substantially to their value including
                                       souvenirs or collector's items.
                                (c)    Property that is unusable      for the purpose      for which     it was originally intended due to
                                       age or historic condition.
                          (3)   We will not pay for any loss to personal            property under this endorsement                until actual
                                repair or replacement is complete.
                    d.    You may disregard the replacement cost provision and make a claim for loss of or damage
                          to property on an actual cash value basis and then make claim within 180 days after loss for
                          additional liability under this endorsement.
        C.    INCREASED           LIMIT - COVERAGE         D
              We will pay the amount of loss covered by Coverage D which is actually sustained by you during
              the 12 consecutive months following the date of loss, subject to the periods of time under
              paragraphs 1, 2 and 3 of Coverage D - Loss of Use.
        D.    ADDITIONAL              COVERAGES
              REFRIGERATORS               AND   FREEZERS       CONTENTS       COVERAGE
              We    cover the contents of deep freeze or refrigerated units on the residence premises from the perils
              of:
              1.    Fluctuation or total interruption of electric power,              either on or off premises,             resulting from
                    conditions beyond the control of the "insured".
              2.    Mechanical breakdown of any refrigeration equipment                     on premises including the blowing                   of
                    fuses or circuit breakers.
              We    do not cover loss caused           by the following       additional exclusions:
              1.    Disconnection         or termination   of power     due   to turning   off any     switch.

              2.    Inability of power source to provide sufficient power due to government                          order,     lack of fuel or
                    lack of generating capacity to meet demand.
              SPECIAL LIMIT - We will not pay more than                   $500 of your loss of refrigerator or freezer contents
              resulting from the above perils.
              All other provisions          of this policy apply.
              LOCK       REPLACEMENT            COVERAGE
              We will pay up to $250 for replacing the locks or cylinders on the exterior doors of the residence
              premises when your keys have been stolen. The theft of the keys must be reported to the police for
              this coverage to apply.
              This coverage           is additional insurance.      No deductible applies to this coverage.
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      ESCAPE OF WATER FROM A SUMP, SUMP PUMP OR DRAIN ON THE RESIDENCE
      PREMISES (BUILDING AND SPECIFIED CONTENTS)
      DEFINITIONS
      The following definition is added:
          “Household equipment and appliances” means only clothing washers and dryers, cooking ovens and
          ranges, dishwashers, permanently installed heating units, installed air conditioning units, installed
          carpeting and refrigeration units, not including contents;
      COVERED PROPERTY
      We cover the dwelling on the “residence premises” and “household equipment and appliances”.
      Covered property does not include materials and supplies or structures described by Coverage B —
      Other Structures.
      EXTENSION OF COVERAGE
      For an additional premium, we cover accidental direct physical loss to property described above caused
      solely by water that escapes, overflows or discharges from a sump, sump pump, sump pump well or a
      drain or related plumbing appliance located on the “residence premises”.
      To the extent coverage is provided by this EXTENSION OF COVERAGE and up to the LIMIT OF
      LIABILITY described below, Section I — Exclusions, Water Damage, 1.c.(4) and 1.c.(5) do not apply.
      (This is Exclusions 3.d. and 3.e. in forms HO 00 04 and HO 00 06.)
      For purposes of coverage under this EXTENSION OF COVERAGE, a drain or related plumbing appliance
      does not include a roof drain, gutter, downspout or similar fixture or equipment.
      EXCLUSIONS
      THIS IS NOT FLOOD INSURANCE.
      There shall be no coverage under this EXTENSION OF COVERAGE if water excluded under Section I—
      Exclusions, Water Damage, 1.c.(1), 1.c.(2) and 1.c.(3) (This is Exclusions 3.a., 3.b. and 3.c. in forms
      HO 00 04 and HO 00 06.):
      1. is concurrent with, in sequence with, or causes or contributes to the escape of water as described
         in this EXTENSION OF COVERAGE; and
      2. damages property covered under Section I — Property Coverages by other than solely by escape,
         overflow or discharge from a sump, sump pump, sump pump well or a drain or related plumbing
         appliance on the “residence premises”.
      LIMIT OF LIABILITY
      We will pay no more than the amount shown in the Declarations for this EXTENSION OF COVERAGE.
      DEDUCTIBLE
      We will pay only that part of the loss that exceeds $1,000. No other deductible applies.


      All other provisions of this policy apply.




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      PROTECTIVE DEVICES
      For a premium discount, we acknowledge the installation of fire, theft, or water protective system or
      device approved by us on the “residence premises.” You agree to maintain the approved system or
      device in working order and to let us know promptly of any change made to the system or device or if it
      is removed. We reserve the right of modifying or removing the discount based on our knowledge of
      how the system or device is maintained by you.


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                                                                                           HOMEOWNERS
                                                                                            HO 04 53 04 91

            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             CREDIT CARD, FUND TRANSFER CARD, FORGERY AND
                     COUNTERFEIT MONEY COVERAGE
                                                Increased Limit

For an additional premium, the limit of liability for Additional Coverage 6., Credit Card, Fund Transfer Card,
Forgery and Counterfeit Money, is increased to $                 *.


*Entries may be left blank if shown elsewhere in this policy for this coverage.
All other provisions of this policy apply.


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                                                                                                                                   ip" Mutual
                                                                                                                                         INSURANCE




              THIS ENDORSEMENT                            CHANGES        YOUR        POLICY - PLEASE             READ      IT CAREFULLY

                                            HOMEOWNER                    AMENDATORY                      ENDORSEMENT

              DEFINITIONS

              The opening       paragraph is deleted and replaced by the following:

              In this policy, "you" and "your" refer to the "named insured" shown in the Declarations and:

                  a.   the     spouse            of the    "named     insured"    shown       in the     Declarations,    if a resident       of the     same
                       household;           or

                  b.   the partner in a civil union,                registered domestic        partnership,     or similar union      or partnership,        with
                       the "named insured" shown in the Declarations, if a resident of the same household.

                  ltem b., above, only applies if the civil union, registered domestic partnership or other similar union
                  or partnership is validly entered into under the law of any state, territory or possession of the United
                  States of America, any territory or province of Canada, or the equivalent of a state or province in
                  any other country.

              "We,"    "us"    and     "our"        refer to the Company          providing     this insurance.       In addition,     certain words         and
              phrases are defined as follows:

              The following is added:

                  "Actual cash value"

                  a.   When damage to property is economically repairable, "actual cash value" means the cost that
                       would be necessary to repair the damage based on the age and conditions of the materials
                       making up the damaged property, less reasonable deduction for wear and tear, deterioration,
                       and obsolescence.

                  b.   When damage to property is not economically repairable or loss prevents repair, “actual cash
                       value" means the market value of property in a used condition equal to that of the lost or
                       damaged property, if reasonably available on the used market.

                  c.   Otherwise,            "actual cash value"          means      the market value of new,            identical,    or nearly     identical
                       property,       less reasonable deduction for wear and tear, deterioration, and obsolescence.

                  The reasonable deduction                  in items a. and c., above,         will apply to materials,       labor, and overhead             and
                  profit.

                  Where       the    term        actual   cash   value   is stated    in the    policy    and   any   endorsements        attached      to    the
                  policy, this Definition of "actual cash value" applies.

              SECTIONS | AND            Il - CONDITIONS

              Under 9. Death, the opening paragraph                      is deleted and replaced by the following:

                  If any person named in the Declarations or the spouse,                                if a resident of the same household; or the
                  partner in a civil union, registered domestic partnership                            or similar union or partnership, if a resident
                  of the same household, dies:


              All other provisions of this policy apply.



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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        SPECIAL PROVISIONS – OHIO

        AGREEMENT
        The following language is added to the end of the Agreement section:
        The application for this policy is incorporated herein and made a part of this policy. When we refer to
        the policy, we mean this document, the application, the Declarations page, and any applicable
        endorsements. The Insured agrees that all of the statements in the application for this policy are his or
        her statements, and constitute warranties. The Insured agrees that this policy is issued in reliance upon
        the truth of the Insured’s warranties in the application. If it is determined that any warranty made in the
        application is incorrect, this policy shall be void ab initio (void back to the date of inception) upon return
        of the policy premium.
        DEFINITIONS
        Item 2. “Business” is deleted and replaced by the following:
        2. "Business" includes:
            a. A trade, profession or occupation engaged in on a full-time, part-time or occasional basis; or
            b. Any other activity engaged in for money or other compensation, except the following:
                (1) One or more activities, not described in (2) or (3) below, for which no "insured" receives
                    more than $3,000 in total compensation for the 12 months before the beginning of the
                    policy period;
                (2) Volunteer activities for which no money is received other than payment for expenses
                    incurred to perform the activity; or
                (3) A “short term rental”.
        Under 4. "Insured location" item e. is deleted and replaced by the following:
            e. Vacant land, including that which is vacant except for a fence, owned by or rented to an
               "insured" other than farmland;
        The following definition is added:
            “Short term rental” means one or more rentals, in whole or in part, of the “residence premises” for
            up to a combined total of 31 days during the policy period.
        SECTION I - PROPERTY COVERAGES
        COVERAGE A – Dwelling
        For form HO 00 03, item 1. is amended as follows:
        We cover:
        1. The dwelling on the "residence premises" shown in the Declarations, including structures attached
           to the dwelling, and attached wall-to-wall carpeting;
        COVERAGE B – Other Structures
        In all forms other than HO 00 04 and HO 00 06, item 2. is deleted and replaced by the following:
        2. Rented to any person not a tenant of the dwelling, unless used solely as a private garage.
        COVERAGE C - Personal Property
        The following is added under items 1. and 2.:
        However, we will not cover personal property owned by tenants or guests if the tenants or guests have
        compensated the “insured” for use of the “residence premises”.
        Special Limits of Liability
        For form HO 00 03, the introductory paragraph of Special Limits of Liability is amended to read:


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        These do not increase the Coverage C limit of liability. The special limit for each numbered category
        below is the total limit for each loss for all property in that category. If personal property can reasonably
        be considered a part of two or more of the groups listed below, the lowest limit will apply.
        Items 10. and 11. are deleted and replaced by the following (These are Items 7. and 8. in Form
        HO 00 08):
        10. $1000 for loss to electronic apparatus, while in or upon a motor vehicle or other motorized land
            conveyance, if the electronic apparatus is equipped to be operated by power from the electrical
            system of the vehicle or conveyance while retaining its capability of being operated by other
            sources of power. Electronic apparatus includes:
            a. Accessories and antennas; or
            b. Tapes, wires, records, discs or other media;
            For use with any electronic apparatus described in this item 10.
        11. $1000 for loss to electronic apparatus, while not in or upon a motor vehicle or other motorized
            land conveyance, if the electronic apparatus:
            a. Is equipped to be operated by power from the electrical system of the vehicle or conveyance
               while retaining its capability of being operated by other sources of power;
            b. Is away from the "residence premises"; and
            c. Is used at any time or in any manner for any "business" purpose.
            Electronic apparatus includes:
            a. Accessories and antennas; or
            b. Tapes, wires, records, discs or other media;
            for use with any electronic apparatus described in this item 11.
        For form HO 00 03, the following limits are added:
        12. $5000 on electronic data processing system equipment and the recording or storage media or
            accessories used with that equipment.
        13. $5000 on any one article and $10000 in the aggregate for loss by theft of any rug, carpet
            (excluding attached wall-to-wall carpet), tapestry, wall-hanging or other similar article.
        14. $2500 in the aggregate for loss of any of the following whether or not they are part of a
            collection: trading cards, comic books, figurines, stamps, advertising materials, stuffed animals,
            dolls, sports and entertainment memorabilia, toys, games, militaria, and books.
        15. $1200 for any one electrical appliance for loss by sudden and accidental damage from artificially
            generated electrical currents. This special limit does not apply to electronic data processing
            equipment or storage media.
        In the event Landlord Endorsement FMHO 6502 is part of this policy, the above coverage contained in
        Special Limits of Liability introductory paragraph and Subparagraphs 10. through 15. are deleted.
        Property Not Covered
        Item 3. is deleted and replaced by the following:
        3. Motor vehicles or all other motorized land conveyances. This includes:
            a. Their equipment and accessories; or
            b. Electronic apparatus that is designed to be operated solely by use of the power from the
               electrical system of motor vehicles or all other motorized land conveyances. Electronic apparatus
               includes:
                (1) Accessories or antennas; or
                (2) Tapes, wires, records, discs or other media;
                for use with any electronic apparatus described in this item 3.b.
            The exclusion of property described in 3.a. and 3.b. above applies only while the property is in or
            upon the vehicle or conveyance.
            We do cover vehicles or conveyances not subject to motor vehicle registration which are:
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            a. Used to service an "insured's" residence; or
            b. Designed for assisting the handicapped;
        In the event Landlord Endorsement FMHO 6502 is part of this policy, the above coverage contained in
        the final two Subparagraphs of Item 3. (a. and b.) is deleted.
        Item 6. is deleted and replaced by the following:
        6. Property in a location on the “residence premises”, when the location is rented to others by an
           “insured”.
            This exclusion does not apply to property of an “insured”:
            a. located on the “residence premises” when the “residence premises” is rented in whole or in part
               as a “short term rental”; or
            b. located in a sleeping room rented to others by an “insured” on the “residence premises”.
        For form HO 00 03, the following item is added as personal property items not covered.
        10. Water or steam
        COVERAGE D - Loss Of Use is deleted and replaced by the following:
        The limit of liability for Coverage D is the total limit for all the coverages that follow.
        1. If a loss covered under this Section makes that part of the "residence premises" where you reside
           not fit to live in, we cover Additional Living Expense. Additional Living Expense means any
           necessary increase in living expenses incurred by you so that your household can maintain its
           normal standard of living.
            Payment will be for the shortest time required to repair or replace the damage or to permanently
            relocate your household elsewhere.
        2. If a loss covered under this Section makes that part of the "residence premises" rented to others by
           you not fit to live in, we cover your Loss of Rent. Loss of Rent means the rental income to you of
           that part of the “residence premises” rented to others at the time of loss, less any expenses that do
           not continue while the premises is not fit to live in.
            This coverage does not apply to:
            a. The “residence premises” or that part of the “insured location” that is not rented or leased at
               the time of the loss; or
            b. to any increase in rent or lease payment that occurs after the time of the loss.
            We will pay up to $5,000 to reimburse your Loss of Rent when a “short term rental” is cancelled
            because of a covered loss.
            Payment will be for the shortest time required to repair or replace that part of the premises rented.
        3. If a civil authority prohibits you from use of the "residence premises" as a result of direct damage to
           neighboring premises by a Peril Insured Against in this policy, we cover the Additional Living
           Expense and Loss of Rent as provided under 1. and 2. above for no more than two weeks.
        The periods of time under 1., 2. and 3. above are not limited by expiration of this policy.
        We do not cover loss or expense due to cancellation of a lease or agreement, other than a “short term
        rental” as provided under 2. above.
        In the event Landlord Endorsement FMHO 6502 is part of this policy, the above coverages contained in
        Coverage D - Loss of Use are deleted and do not apply.
        ADDITIONAL COVERAGES
        Item 1. Debris Removal is deleted and replaced by the following:
        1. Debris Removal. We will pay the reasonable expense you incur for the removal of:
            a. Debris of covered property if a Peril Insured Against that applies to the damaged property
               causes the loss; or
            b. Ash, dust or particles from a volcanic eruption that has caused direct loss to a building or
               property contained in a building.
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           This expense is included in the limit of liability that applies to the damaged property. If the amount
           to be paid for the actual damage to the property plus the debris removal expense is more than the
           limit of liability for the damaged property, an additional 5% of that limit of liability is available for
           debris removal expense.
           We will also pay the reasonable expense you incur, up to $500, for the removal from the “residence
           premises” of:
           a. Your tree(s) felled by the peril of Windstorm or Hail;
           b. Your tree(s) felled by the peril of Weight of Ice, Snow or Sleet; or
           c. A neighbor’s tree(s) felled by a Peril Insured Against under Coverage C;
           provided the tree(s) damages a covered structure. The $500 limit is the most we will pay in any one
           loss regardless of the number of fallen trees.
        For form HO 00 03, item 7. Loss Assessment is deleted in its entirety.
        For form HO 00 03, the following is added to item 8. Collapse.
           With respect to this Additional Coverage:
               (1) Collapse means the sudden and entire falling down or caving in of a building or any part of a
                   building with the result that the building or part of the building cannot be occupied or used
                   for its current intended purpose.
               (2) A building or any part of a building that is in danger of falling down or caving in is not
                   considered to be in a state of collapse.
               (3) A part of a building that is standing is not considered to be in a state of collapse even if it
                   has separated from another part of the building.
               (4) A building or any part of a building that is standing is not considered to be in a state of
                   collapse even if it shows evidence of cracking, bulging, sagging, bending, leaning, settling,
                   shrinkage or expansion.
        Item 9. Glass or Safety Glazing Material is deleted and replaced by the following:
        9. Glass or Safety Glazing Material
           a. We cover:
               (1) For all forms other than HO 00 04 and HO 00 06, the breakage of glass or safety glazing
                   material which is part of a covered building, storm door or storm window and for:
                     (a) Form HO 00 04, the breakage of glass or safety glazing material which is part of a
                         building, storm door or storm window, and covered as Building Additions       and
                         Alterations; and
                     (b) Form HO 00 06, the breakage of glass or safety glazing material which is part of a
                         building, storm door or storm window, and covered under Coverage A; and
               (2) For all forms other than HO 00 04 and HO 00 06, the breakage, caused directly by Earth
                   Movement, of glass or safety glazing material which is part of a covered building, storm
                   door or storm window, and for:
                     (a) Form HO 00 04, the breakage, caused directly by Earth Movement, of glass or safety
                         glazing material which is part of a building, storm door or storm window, and
                         covered as Building Additions and Alterations; and
                     (b) Form HO 00 06, the breakage, caused directly by Earth Movement, of glass or safety
                         glazing material which is part of a building, storm door or storm window, and covered
                         under Coverage A; and
               (3) The direct physical loss to covered property caused solely by the pieces, fragments or
                   splinters of broken glass or safety glazing material which is part of a building, storm door or
                   storm window.
           b. This coverage does not include loss:
               (1) To covered property which results because the glass or safety glazing material has been
                   broken, except as provided in a.(3) above; or
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               (2) On the "residence premises" if the dwelling has been vacant for more than 30 consecutive
                   days immediately before the loss, except when the breakage results directly from Earth
                   Movement as provided for in a.(2) above. A dwelling being constructed is not considered
                   vacant.
            Loss to glass covered under this ADDITIONAL COVERAGE 9. will be settled on the basis of
            replacement with safety glazing materials when required by ordinance or law.
            For forms HO 00 01 and HO 00 08, we will pay up to $100 for loss under this coverage.
            This coverage does not increase the limit of liability that applies to the damaged property.
            (This is Additional Coverage 8. in forms HO 00 01 and HO 00 08.)
        For form HO 00 03, item 10. Landlord's Furnishings is deleted in its entirety.
        The following ADDITIONAL COVERAGE is added to all forms except HO 00 08. With respect to form
        HO 00 04, the words 'covered building' used below, refer to property covered under ADDITIONAL
        COVERAGE 10. Building Additions and Alterations.
        12. Ordinance or Law
           a. You may use up to 10% of the limit of liability that applies to COVERAGE A (or for form HO 00
              04, you may use up to 10% of the limit of liability that applies to Building Additions and
              Alterations) for the increased costs you incur due to the enforcement of any ordinance or law
              which requires or regulates:
               (1) The construction, demolition, remodeling, renovation or repair of that part of a covered
                   building or other structure damaged by a PERIL INSURED AGAINST;
               (2) The demolition and reconstruction of the undamaged part of a covered building or other
                   structure, when that building or other structure must be totally demolished because of
                   damage by a PERIL INSURED AGAINST to another part of that covered building or other
                   structure; or
               (3) The remodeling, removal or replacement of the portion of the undamaged part of a covered
                   building or other structure necessary to complete the remodeling, repair or replacement of
                   that part of the covered building or other structure damaged by a PERIL INSURED AGAINST.
           b. You may use all or part of this ordinance or law coverage to pay for the increased costs you
              incur to remove debris resulting from the construction, demolition, remodeling, renovation,
              repair or replacement of property as stated in a. above.
           c. We do not cover:
               (1) The loss in value to any covered building or other structure due to the requirements of any
                   ordinance or law; or
               (2) The costs to comply with any ordinance or law which requires any "insured" or others to
                   test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way
                   respond to, or assess the effects of, pollutants on any covered building or other structure.
                     Pollutants means any solid, liquid, gaseous or thermal irritant or contaminant, including
                     smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes materials to
                     be recycled, reconditioned or reclaimed.
        This coverage is additional insurance.
        (This is ADDITIONAL COVERAGE 11. in forms HO 00 01 and HO 00 06.)
        SECTION I - PERILS INSURED AGAINST
        COVERAGE A – DWELLING and COVERAGE B – OTHER STRUCTURES
        For form HO 00 03, the following is added to item 2.b.:
               (4) Footing(s)
        For all forms other than HO 00 04 and HO 00 06, item 2.d. is deleted and replaced by the following:
           d. Vandalism and malicious mischief, including fire caused by arson and any ensuing loss caused
              by any intentional and wrongful act committed in the course of the vandalism or malicious
              mischief, if the dwelling has been vacant for more than 60 consecutive days immediately before
              the loss. A dwelling being constructed is not considered vacant;
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        For form HO 00 03, the following is added to item 2.e.:
               (10)Growth of trees, shrubs, plants or lawns whether or not such growth is above or below the
                   surface of the ground;
        For form HO 00 03, the final paragraph of Item 2. is further revised as follows:
               If any of these cause sudden and accidental water damage not otherwise excluded, from a
               plumbing, heating, air conditioning or automatic fire protective sprinkler system or household
               appliance, we cover loss caused by the water including the cost of tearing out and replacing any
               part of a building necessary to repair the system or appliance. We do not cover loss to the
               system or appliance from which this water escaped.
        SECTION I – EXCLUSIONS
        Item 1. Ordinance or Law is deleted and replaced by the following:
        1. Ordinance or Law, meaning any ordinance or law:
           a. Requiring or regulating the construction, demolition, remodeling, renovation or repair of
              property, including removal of any resulting debris. This Exclusion 1.a., does not apply to the
              amount of coverage that may be provided for under ADDITIONAL COVERAGES, Glass or Safety
              Glazing Material or Ordinance or Law;
           b. The requirements of which result in a loss in value to property; or
           c. Requiring any "insured" or others to test for, monitor, clean up, remove, contain, treat, detoxify
              or neutralize, or in any way respond to, or assess the effects of, pollutants.
               Pollutants means any solid, liquid, gaseous or thermal irritant or contaminant, including smoke,
               vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes materials to be
               recycled, reconditioned or reclaimed.
           This exclusion applies whether or not the property has been physically damaged.
           (This is exclusion 1.a. in form HO 00 03.)
        Item 2. Earth Movement is deleted and replaced by the following:
        2. Earth Movement, meaning movement of the earth, whether combined with water or not, in any
           direction, including but not limited to:
           a. Earthquake, including land shock waves or tremors before, during, or after a volcanic eruption;
           b. Landslide, mud slide, or mud flow;
           c. Subsidence or sinkhole; or
           d. Any other earth movement, including earth sinking, rising, shifting, expanding, contracting, or
              eroding;
           caused by or resulting from manmade, animal, or natural actions, events, or conditions.
           If direct loss by fire or explosion ensues, we will pay only for the ensuing loss.
           This exclusion does not apply to loss by theft.
           (This is Exclusion 1.b. in Form HO 00 03.)
        Item 3. is deleted and replaced by the following:
        3. Water Damage, meaning:
           a. (1) Flood, surface water, waves, tidal water, tsunami, seiche, overflow of a body of water,
                  storm surge or spray from any of these, whether or not driven by wind, including hurricane
                  or similar storm; or
               (2) release of water held by a dam, levee, dike or by a water or flood control device or
                   structure;
           b. Water below the surface of the ground, including water which exerts pressure on or seeps or
              leaks through a building, sidewalk, driveway, foundation, swimming pool or other structure.
           c. Water which escapes or overflows from sewers or drains located off the “residence premises”;


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           d. Water which escapes or overflows from drains or related plumbing appliances on the “residence
              premises”. However, this exclusion does not apply to overflow and escape caused by
              malfunction on the “residence premises”, or obstruction on the residence premises, of a drain or
              plumbing appliance on the “residence premises”; or
           e. Water which escapes or overflows or discharges, for any reason, from within a sump pump,
              sump pump well or any other system designed to remove water which is drained from the
              foundation area.
           Water includes any water borne materials.
           This exclusion applies whether the water damage is caused by or resulting from human or animal
           forces or any act of nature.
           Direct loss by fire, explosion or theft resulting from water damage is covered.
           (This is exclusion 1.c. in Form HO 00 03.)
        Item 4. Power Failure is deleted and replaced by the following:
        4. Power Failure, meaning the failure of power or other utility service if the failure takes place off the
           "residence premises." But if the failure of power or other utility service results in a loss, from a
           PERIL INSURED AGAINST on the "residence premises," we will pay for the loss or damage caused
           by that PERIL INSURED AGAINST.
           (This is exclusion 1.d. in form HO 00 03.)
        For form HO 00 03, the following is added as item 2.d.
           d. Cosmetic Loss or Damage, meaning any loss that alters only the physical appearance of the
              metal roof covering but:
               (1) does not result in the penetration of water through the metal roof covering; or
               (2) does not result in the failure of the metal roof covering to perform its intended function of
                   keeping out the elements over an extended period of time.
               Metal roof covering means the metal roofing material exposed to the weather; the
               underlayments applied for moisture protection; and all flashings required in the replacement of a
               metal roof covering.
               We do cover loss or damage by hail to roof coverings that allow the penetration of water
               through the roof covering or that results in the failure of the roof covering to perform its
               intended function of keeping out the elements over an extended period of time.
        SECTION I – CONDITIONS
        2. Your Duties After Loss.
           Paragraph a. is deleted and replaced by the following:
           a. Give prompt notice to us or our agent. With respect to a loss caused by the peril of windstorm
              or hail, that notice must occur no later than 365 days after the date of loss.
        3. Loss Settlement
           Under Form HO 00 06, Item b.(2) is deleted and replaced by the following:
               (2) If the damage is not repaired or replaced within a reasonable time, at actual cash value but
                   not more than the amount required to repair or replace.
           The following paragraph is added to all forms and applies to this policy and to any Loss Settlement
           provision in any other endorsement applicable to this policy:
           Loss Settlement does not include payment for any actual or perceived decrease in market or resale
           value resulting from loss to or repair of your covered property.
        SECTION II – EXCLUSIONS
        Under 1. COVERAGE E – Personal Liability and COVERAGE F – Medical Payments to O thers:
        Item a. is deleted and replaced by the following:
           a. Which is expected or intended by the "insured", even if the resulting "bodily injury" or "property
              damage":
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               (1) is of a different kind, quality, or degree than initially expected or intended; or
               (2) is sustained by a different person, entity, real or personal property, than initially expected or
                   intended.
               However, this exclusion does not apply to "bodily injury" resulting from the use of reasonable
               force to protect persons or property.
        Item c. is deleted and replaced by the following:
           c. Arising out of the rental or holding for rental of any part of any premises by an “insured.” This
              exclusion does not apply to the rental or holding for rental of the “residence premises”:
               (1) As a “short term rental” for use only as a residence;
               (2) In part, unless intended for use as a residence more than two roomers or boarders; or
               (3) In part, as an office, school, studio or private garage;
        The following item is added:
           m. Arising out of the actions of a dangerous or vicious dog, as defined under OHIO REV. CODE,
              Sec. 955.11, and the “insured’s” failure to keep:
               (1) The dangerous dog, while on the premises of the owner, keeper or harborer, restrained by a
                   leash or a tether;
               (2) The vicious dog while on the premises of the owner, keeper, or harborer, securely confined
                   at all times in a locked pen that has a top, a locked fenced yard or other locked enclosure
                   that has a top; and
               (3) The dangerous and vicious dog, while off the premises of the owner, keeper or harborer, on
                   a chain-link leash or tether that is not more than six feet in length and in addition, keep the
                   dog:
                     (a) Confined in a locked pen that has a top, locked fenced yard, or other locked enclosure
                         that has a top:
                     (b) Leashed or tethered and controlled by a person who is of suitable age and discretion or
                         securely attach, tie, or affix the leash or tether to the ground or a stationary object or
                         fixture so that the dog is adequately restrained and station such a person in close
                         enough proximity to that dog so as to prevent it from causing injury to any person; or
                     (c) Muzzled.
               This exclusion does not apply to “bodily injury” to a “residence employee” arising out of and in
               the course of the “residence employee’s” employment by an “insured”.
        SECTION II – ADDITIONAL COVERAGES
        For form HO 00 03, item 1.c. under Claims Expenses is amended as follows:
           c. Reasonable expenses incurred by an "insured" at our request, including actual loss of earnings
              (but not loss of other income) up to $250 per day, for assisting us in the investigation or
              defense of a claim or suit; and
        Under 3. Damage to Property to Others, item d. is deleted and replaced by the following:
           d. To property owned by or rented to a tenant of an "insured" or a resident in your household.
              This does not apply to “short term rentals”; or
        For form HO 00 03, item 4. Loss Assessment is deleted in its entirety.
        SECTIONS I AND II – CONDITIONS
        Item 2. Concealment or Fraud is deleted and replaced by the following:
        2. Concealment or Fraud
           a. This policy will not provide coverage under any part of this policy for any insured or any other
              person or entity seeking benefits under this policy (whether before or after a loss) if any insured:



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                (1) conceals or misrepresents any material fact or circumstance,
                (2) makes false statements or
                (3) engages in fraudulent conduct,
                any of which relate to a loss, an accident, or a claim.
        5. Cancellation
          Paragraph b. is deleted and replaced by the following:
          b.    We may cancel this policy, as stated below, by letting you know in writing of the date
                cancellation takes effect. This cancellation notice may be delivered to you, or mailed to you at
                your mailing address shown in the Declarations.
                Proof of mailing will sufficient proof of notice.
                (1) We may cancel at any time by letting you know at least 10 days before the date
                    cancellation takes effect if we cancel because:
                     (a) You have not paid the premium;
                     (b) There has been a material misrepresentation of fact related to this insurance; or
                     (c) Evidence of arson exists.
                (2) When this policy has been in effect for less than 60 days and is not a renewal with us, we
                    may cancel for any reason by letting you know at least 30 days before the date cancellation
                    takes effect.
                (3) When this policy has been in effect for 60 days or more, or at any time if it is a renewal
                    with us, we may cancel if the risk has changed substantially since the policy was issued:
                (4) When this policy is written for a period of more than one year, we may cancel for any
                    reason at anniversary by letting you know at least 30 days before the date cancellation
                    takes effect.
           Item 10. is added:
          10. Loyalty Rewards
               At our sole discretion, we, or a partner organization, may reward you by providing you, or
               another person insured under this policy, with things of value, including: airline miles,
               memberships, merchandise, points, rewards, services, or other items.


        All other provisions of this policy apply.




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      AMENDATORY MOLD, FUNGUS, WET ROT, DRY ROT, BACTERIA, OR
      VIRUS ENDORSEMENT
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      DEFINITIONS

      The following definition is added to the DEFINITIONS section:

          9. "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" means any type or form of fungus, rot,
             virus or bacteria. This includes mold, mildew and any mycotoxins (meaning a toxin produced
             by a fungus), other microbes, spores, scents or byproducts produced or released by mold,
             mildew, fungus, rot, bacteria, or viruses.

      SECTION I – PROPERTY COVERAGES

      Additional Coverages

      The following Additional Coverage is added:

          11. Remediation of "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" Resulting Directly From
              Any Covered Loss

          We will pay, up to the Additional Coverage – Mold Limit of Liability shown below, for the
          “Remediation” of “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus” resulting directly from any
          covered loss.

          "Remediation" means the reasonable and necessary treatment, containment, decontamination,
          removal or disposal of "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" as required to complete
          the repair or replacement of property, covered under Section I of the policy, that is damaged by any
          covered peril insured against, and also consists of the following:

             1. The reasonable costs or expense to remove, repair, restore, and replace that property
                including the costs to tear out and replace any part of the building as needed to gain access
                to the “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus”; and

             2. the reasonable costs or expense for the testing or investigation necessary to detect,
                evaluate or measure "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus"; and

             3. any loss of fair rental value, or reasonable increase in additional living expenses, that is
                necessary to maintain your normal standard of living, if "Mold, Fungus, Wet Rot, Dry Rot,
                Bacteria, or Virus" resulting directly from any covered loss makes your residence premises
                uninhabitable.

      We will pay no more than the Additional Coverage - Mold Limit of Liability shown below for the
      "Remediation" of "Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" resulting directly from any
      covered loss during the policy period, regardless of the number of locations under the policy to which
      this endorsement is attached, the number of persons whose property is damaged, the number of
      "insureds," or the number of losses or claims made.

      If there is a covered loss or damage to covered property, not caused, in whole or in part, by “Mold,
      Fungus, Wet Rot, Dry Rot, Bacteria, or Virus,” loss payment will not be limited by the terms of this
      Additional Coverage, except to the extent that “Mold, Fungus, Wet Rot, Dry Rot, Bacteria, or Virus”
      causes an increase in the loss. Any such increase in the loss will be subject to the terms of this
      Additional Coverage.
FMHO 3370 11 12                                                                                              Page 1 of 2
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                                 ADDITIONAL COVERAGE -- MOLD LIMIT OF LIABILITY

      Mold Limit of Liability:             SECTION I              Aggregate Limit            $5,000

      This Additional Coverage does not increase the limits of liability under Section I of the policy as shown
      in the Declarations.

      SECTION I – EXCLUSIONS

          Exclusion 1.i. is added:

              i.    Except as provided by Additional Coverage 11., loss consisting of or caused by "Mold,
                    Fungus, Wet Rot, Dry Rot, Bacteria, or Virus" is excluded, even if resulting from a peril
                    insured against under Section I. We do not cover "Remediation" of "Mold, Fungus, Wet Rot,
                    Dry Rot, Bacteria, or Virus," even if resulting from a peril insured against under Section I,
                    except as provided by Additional Coverage 11.

      SECTION II – EXCLUSIONS

          Coverage E - Personal Liability and Coverage F - Medical Payments to Others
             Exclusion 1.m. is added:

              m. Arising out of or aggravated by, in whole or in part by, “Mold, Fungus, Wet Rot, Dry Rot,
                 Bacteria, or Virus.”

      This endorsement takes precedence over all other endorsements attached to your policy.




FMHO 3370 11 12                                                                                              Page 2 of 2
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      SEEPAGE EXCLUSION ENDORSEMENT
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      SECTION I – PERILS INSURED AGAINST

          Coverage A – Dwelling and Coverage B – Other Structures

          Paragraph 2.e.(9) is added:

             (9) Seepage, meaning a gradual, continuous, or repeated seepage or leakage of water, steam or
                 fuel over a period of 14 days or more, resulting in damage to the structure, whether hidden
                 or not.

      This endorsement takes precedence over all other endorsements attached to your policy.




FMHO 3391 11 12                                                                                          Page 1 of 1
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       NO SECTION II - LIABILITY COVERAGES FOR HOME DAY CARE BUSINESS
       LIMITED SECTION I - PROPERTY COVERAGES FOR HOME DAY CARE
       BUSINESS                                                HO 04 96 04 91

       If an "insured" regularly provides home day care          3. Limits coverage for property used on the
       services to a person or persons other than                   "residence premises" for the home day care
       "insureds" and receives monetary or other                    enterprise to $2,500, because Coverage C -
       compensation for such services, that enterprise              Special Limits of Liability - item 8. imposes
       is a "business." Mutual exchange of home day                 that limit on "business" property on the
       care services, however, is not considered                    "residence premises." (Item 8. corresponds
       compensation. The rendering of home day care                 to item 5. in Form HO 00 08.);
       services by an "insured" to a relative of an
                                                                 4. Limits coverage for property used away from
       "insured" is not considered a "business."
                                                                    the "residence premises" for the home day
       Therefore, with respect to a home day care                   care enterprise to $250, because Coverage C
       enterprise which is considered to be a                       - Special Limits of Liability - item 9. imposes
       "business," this policy:                                     that limit on "business" property away from
                                                                    the "residence premises." Special Limit of
       1. Does not provide Section II - Liability                   Liability item 9. does not apply to adaptable
          Coverages because a "business" of an                      electronic apparatus as described in Special
          "insured" is excluded under exclusion 1.b. of             Limit of Liability items 10. and 11. (Items
          Section II - Exclusions;                                  9., 10. and 11. correspond to items 6., 7.
       2. Does not provide Section I - Coverage B                   and 8. respectively in Form HO 00 08.)
          coverage where other structures are used in
          whole or in part for "business";

       THIS ENDORSEMENT DOES NOT CONSTITUTE A REDUCTION OF COVERAGE.




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                    LEAD POISONING EXCLUSION ENDORSEMENT

The following provisions are added to and made part of your Homeowners Policy:
Section I - Property Coverages do not apply to any costs or expenses incurred or loss arising out of:
     1.   the removal, testing for, monitoring, clean-up, abatement, treatment, or neutralization of lead; paint,
          putty or plaster containing lead; soil or earth containing lead; or any other substance or material
          containing lead, or;
     2.   any governmental direction or other request that you test for, monitor, clean-up, remove, abate, contain,
          treat or neutralize lead; paint, putty or plaster containing lead; soil or earth containing lead; or any
          other substance or material containing lead.
Coverage E - Personal Liability and Coverage F - Medical Payments to Others do not apply to bodily injury or
property damage:
     1.   arising out of lead paint, plaster or putty containing lead; soil or earth containing lead or any other
          material or substance containing lead, or;
     2    any costs or expenses incurred or loss arising out of any claim, governmental direction, or request that
          you test for, monitor, clean-up, remove, abate, contain, treat or neutralize lead; paint, putty or plaster
          containing lead; soil or earth containing lead; or any other substance or material containing lead.
This exclusion applies to any obligation to share damages, costs or expenses with someone else or to repay
someone else who must pay damages, costs or expenses.



FMHO 976 (Ed. 5-92)                       LIBERTY MUTUAL GROUP                                                 PF
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                                                                                                     S& Libe
                                                                                                    Si Mutagl
                                                                                                           INSURANCE



        INFLATION          PROTECTION                 ENDORSEMENT
        It is agreed that the limits of liability for:
            Coverage      A, Dwelling;
            Coverage      B, Structure;
            Coverage      C, Personal     Property;
            and Coverage      D, Loss of Use,
        shall be raised by the rate of increase in the latest available information       on residential building cost
        inflation.


        METHOD
        To find the limits of liability on a given date, the Index Level the Company assigns to that date will be
        divided by the Index Level for the effective date of this Endorsement. This Factor is then multiplied by
        the limit for Coverages A, B, C and D separately.
        If during this policy's term the Coverage A limit is changed at the insured's         request, the effective date
        of this Endorsement is amended to the effective date of such change.
        This Endorsement       shall not reduce the limits of liability to less than the amount   shown   on:
                 a.    The policy; or
                 b.    The most recent Homeowners         Policy Renewal   Declaration.

        This Endorsement       must be attached to Change      Endorsement    when   issued after the policy is written.

FMHO   2836 (Ed. 11/03)                                    < <COMPANY.FOOTER>        >                                   Page 1 of 1
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       WAIVER OF DEDUCTIBLE - THEFT FROM RESIDENCE PREMISES
       With the installation of a functioning and professionally-monitored theft alarm system that is maintained
       in good working order, we will waive the deductible that applies for direct physical loss to the property
       described under Coverage A, B, and C as a result of theft, including attempted theft, from that portion
       of the "residence premises" protected by the alarm system.
       The waiver of deductible will not apply if:
             a. The alarm system has not been activated, or the service has been discontinued;
             b. The theft loss occurs off the "residence premises"; or
             c. The theft loss occurs from a portion of the "residence premises" not protected
                by the alarm system.
       All other provisions of this policy apply.




FMHO 1087 (10/14)                              <<COMPANY.FOOTER12>>                                       Page 1 of 1
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       UNDERGROUND FUEL STORAGE TANK EXCLUSION
       The following provision is added to and made part of your Homeowners Policy:
       Section II - Exclusions
       The Paragraph below is added:
       Coverage E - Personal Liability and Coverage F - Medical Payments to Others do not apply to "bodily
       injury" or "property damage":
           arising out of the release of fuel or fuel products from an "underground storage tank system."
           "Underground storage tank system" means the underground tank, the fill pipe, the vent pipes, and
           all associated fixtures, including pipe and tubing which contains or conveys fuel or fuel products
           from the underground storage tank to the point of combustion.
       All other provisions of this policy apply.


FMHO 1097 (Ed. 1-97)                                Liberty Mutual Group                                    Page 1 of 1
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        Notice of Membership in Liberty Mutual Holding Company Inc.

        While this policy is in effect, the named insured first named in the Declarations is a member of Liberty
        Mutual Holding Company Inc. and is entitled to vote either in person or by proxy at any and all meetings
        of the members of said company. The Annual Meeting of Liberty Mutual Holding Company Inc. is in
        Boston, Massachusetts, on the second Wednesday in April each year at ten o'clock in the morning.
        The named insured first named in the Declarations shall participate in the distribution of any dividends
        declared by us for this Policy. The amount of such Named Insured's participation is determined by the
        decision of our Board of Directors in compliance with any laws that apply.
        Any provisions in the policy relating to:
        1. Membership in Liberty Mutual Insurance Company or Liberty Mutual Fire Insurance Company; or
        2. Entitlement to dividends as a member of Liberty Mutual Insurance Company or Liberty Mutual Fire
           Insurance Company
        are deleted and replaced by the preceding paragraphs.


2340e                                                                                                    Page 1 of 1
